                                                                                                 - ·   -- - - - - - -
               Case 1:21-cv-02664-SCJ-CMS Document- 1....Filed
                                                         .     07/01/21 Page 1 of 76
RECEIVED IN CLERK'S OFFICE
     U.S.0.C .• Atlanta



    JUL O1 2021                                                                                FILED IN CLERK'S OFFICE
                               IN THE UNITED STATES DISTRICT COURT                                      US.D.C Atlanta
                                                                                                                Sp/,
                              FOR THE NORTHERN DISTRICT OF GEOJtCf~
                                                                                                       JUL OJ 2021
                                     - - - - -- - DIVISIO~
                                                                                              BK~~N
                                                                                                Y~
                                                                                                  ~':::R,          Clerk
                                                                                                              -~utv Clerk




                               Plaintiff prose,                    CIVIL ACTION FILJti[O.


                    V.                                             _1: ~1-CY-26§4
                                                                      (to be assigned by Clerk)




           (Print full name of each defendant ; an
           employer is us ually the defend ant)

                               Defendant(s).



               PRO SE EMPLOYMENT DISCRIMINATION COMPLAINT FORM

                                            Claims and Jurisdiction

          1.         This employment discrim ination lawsuit is brought under ( check only those
                     that apply) :

                          V       Title VII of the Civil Rights Act of 1964, 42 U .S .C. §§ 2000e et
                                  ~ ' for employment discrimination on the basis of race, color,
                                  religion, sex, or national origin, or retaliation for exercising rights
                                  under this statute.

                                         NOTE : To sue under Title VII, you generally must have
                                         received a notice of right-to-sue letter from the Equal
                                         Employment Opportunity Commission ("EEOC").

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                                                       . - ,... '"" n ~..., Page 2 of 76




                           Age Discrimination in Employment Act of 1967, 29 U. S.C. §§
                           621 et seq .. for employment discrimination against persons age 40
                           and over, or retaliation for exercising rights under this statute.

                                  NOTE: To sue under the Age Discrimination in
                                  Employment Act, you generally must first file a charge of
                                  discrimination w ith the EEOC .


                           Americans With Disabilities Act of 1990, 42 U.S.C. §§ 12101 et
                           fillli,_, for employment discrimination on the basis of disability, or
                           retaliation for exercising rights under this statute.

                                  NOTE: To sue under the Americans With Disabilities Act,
                                  you generally must have received a notice of right-to-sue
                                  letter from the EEOC.


                           Other (describe)




      2.     This Court has subject matter jurisdiction over thi s case under the above-l isted
             statutes and under 28 C.S .C. §§ 1331 and 1343 .




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L _
                                                                                                         '
                                                                                                    ___ _J
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                                          Parties

3.     Plaintiff.       Print your full name and mailing address below:

       Name             "\\Wfl:rJ l        s      I   Mv t'r)<:ft     ?{ \}f1J fr./1   .
       Address          7J- )3 71 R, Li e_ri-lf s;'.if(£,+ , f+pt                          C.
                        Cr u~.-¥\~ bco r-/ G, :1) :tt 1
                                              I

4.     Defendant( s).         Print below the name and address of each defendant listed
                              on page 1 of this form:

       Name         \   Hf- I 1G~~ tto,'-U-ftv\ Ttt/fl ~t,.. TH€.O l-0 ~L C£~1TteA ;t~No\/\
       Address              &t)                   \ lf\      U~     t:::' VI   ~r ,        'o~
                          9-t,~vn~, s A-.                 sc)r ,lf-- ,
       Name
       Address




       Name
       Address




                                   Location and       Time
5.     If the alleged di criminatory conduct occurred at a location different from the
       addres s provided for defendant(s), state where that discrimination occurred :




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6.



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                                                                                          7
            ~l~


                             Administrative Procedures

7.      Did you file a charge of discriminav,gainst defendant(s) with the EEOC or
        any other federal agency?            Yes         _ _ No

              If you checked "Yes," attach a copy of the charge to this complaint.


8.      Have you received a Notice of Right-to-Sue letter from the EEOC?

           ✓Yes            _ _ No




9.      If you are suing for age discrimination, check one of the following :

                    60 days or more have elapsed since I filed my charge of age
                    discrimination with the EEOC

                    Less than 60 days have passed since I filed my charge of age
                    discrimination with the EEOC




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10.      If you were emp loyed by an agency of the State o f Georgia or unsuccessfull y
         sought employment with a State agency, did you file a complaint against
         defendant(s) with the Georgia Commission on Equal Opportunity?


         - -   Yes                              _ _ Not applicable, because I was
                                                not an employee of, or applicant with,
                                                a State agency.

               If you checked "Yes," attach a copy of the complaint you filed with the
               Georgia Commission on Equal Opportunity and describe below what
               happened with it (i.e., the complaint was dismissed, there was a hearing
               before a special master, or there was an appeal to Superior Court):




11.     If you were employed by a Federal agency or unsucce ssfully sought
        employment with a Federa l agency, did you complete the administrative
        process established by that agency for persons alleging denial of equa l
        employment opportunity?

        - - Yes               ✓ No              _ __ Not app licable, because I \.vas
                                                not an employee of, or applicant with .
                                                a Federal agency.

               If you checked " Yes," de scribe below what happened            in   that
               administrative process:




                                       Page 5 of 9
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                                            ~ature of the Case

          12.     The conduct complained about in this lawsuit invo lves ( check only those that
                  app ly):

                              failure to hire me
                              failure to promote me
                              demotion
                              reduction in my vvages
                              working under terms and conditions of employment that differed
                              from similarly situated employees
                              harassment
                              retaliation
                              termination of my employment
                              failure to accommodate~ qisability       'L ~
                    ✓                                   \w~
                              other (please specify) LCv\J             ~If=
                                                                     <::J f) ;:7 1

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                         1 u M CJvvl\.~ --=r- l \ \I\Q_~ ( ,
          13.     I believe that I was discriminated against because of (check only those that
                  apply) :

                              my race or color, which is _ _ _ _ _ __ _ _ _ __
                              my religion, which is                                       ~
                              my sex (gender), which is          _ _ male                Lfemale
                              my national origin, which is Z, ~ 1{ It-~ ~e,_. , <; ou.. Ttl-f"R.Jtl@-1 L,~
                              my age (my date of birth is                      r                        )
                              my d isability or percei ved di sab ility, which is:


                              my op position to a practice of my employer that I bel ieve violated
                              the federal anti-discrimination laws or my partic ipation in an
                              EEOC investigation

                              other (please specify)     ~ 01 Ai._C:: l Mr-A 1 6 ~B- Fr;
                              tu{    ~Cl-A "1           Q6U "i I '.f4--nlDC I?-. '{) I S: Qp MI/1J f\TloN    t i.C-fllC..lc
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14.    Write below, as clearly as possible, the essential facts of your claim(s).
       Describe specifically the conduct that you believe was discriminatory or
       retaliatory and how each defendant was involved. Include any facts which
       show that the actions you are complaining about were discriminatory or
       retaliatory. Take time to organize your statements; you may use numbered
       paragraphs if you find that helpful. Do not make legal arguments or cite cases
       or statutes. .(i)
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(Attach no more than five additional sheets if necessary; type or write legibly only on
one side of a page.)


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15.      Plaintiff                  sti ll works for defendant(s)
                                    no longer works for defendant(s) or was not hired


16.      If this is a disability-related claim, did defendant(s)/deny a request for
         reasonable accommodation?        _ _ Yes          _J_ No

                If you checked "Yes," please explain:---- ~ - - -




17 .     1f your case goes to trial, it will be heard by a judge unles s you elect a jury
                                                                   7
         trial. Do you request a jury trial ?     __ _ Yes _JL__ No


                                   Request for Relief

As relief from the allegations of discrimination and/or retali ation stated above,
plaintiff prays that the Court grant the following rel ief (check any that apply) :

                      Defendant(s) be directed to __   _ __ ___ __


                      ~1oney damages (list amounts) _ _ _ _ _ _ __ _ __ _ _


                      Costs and fees invoh·ed in litigating this case


                      Such other re lief as my be appropriate




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           PLEASE READ BEFORE SIGNING THIS CO~IPLAil\T

Before you sign this Complaint and file it with the Clerk, please re view Rule 11 of
the Federal Rules of Civil Procedure for a full description of your obligation of good
faith in filing this Complaint and any motion or pleading in this Court, as well as the
sanctions that may be imposed by the Court when a litigant (whether plaintiff or
defendant) violates the provisions of Rule 11. These sanctions may include an order
directing you to pay part or all of the reasonable attorney's fees and other expenses
incurred by the defendant(s) . Finally, if the defendant(s) is the prevailing party in this
lawsuit, costs ( other than attorney's fees) may be imposed upon you under Federal
Rule of Civil Procedure 54(d)(l).


                            9- r_ day of_.....o.-..._,__\
                                                 ~

             Signed, this                        A: _,_, \,'-"'"D    ---,,.----' 20:2-,L ·_
                                                                -~ e._




                                          (Signatur o pl mtiff prose)

                                         ~l'l!':N I    c;' t\1:1-'ti_f."' 1\l ~~
                                          (Printed name of plaintiff prose) ~ 1
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                                          ( street address)

                                         ~, ~Q.Ai\:~JOc\G NC .g tttl l
                                          (City, State, and zip bode)                   ·

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                                          (tkphone-f.um ber)




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Mr. James N Hatten, Clerk of Court,
Richard B. Russell Federal Building,
2211 United States Courthouse,
75 Ted Turner Drive, SW.
Atlanta, GA. 30303-3309

June 23, 2021.

Seeking resolution to Sexual Assault, Harassment, Retaliation, Bullying, Intimidation,
Workplace Injury, Discrimination, and Wrongful Termination Claims from Employer.

 Dear Sir,
After review of my unresolved legal situation due to illness the Attorneys at Deuterman Law
 Group (stephanie.bullard@deutermanlaw.com) and Seth Cohen (336.274.2992) Greensboro,
 NC, advised me to file a case in Federal Court in Atlanta, Georgia, against my employer, The
 Interdenominational Theological Center, a Graduate School, for Sexual Abuse, Assault,
Harassment, Stalking, Bullying, Intimidation, Retaliation, Discrimination, Loss of Employment
and Workplace Injury. For fifteen years the school failed to protect me from Sexual Harassment,
Assault, Stalking and Bullying choosing instead to consistently promote the faculty colleague
into various powerful Supervisory positions with knowledge on his escalating violence against
me. In these Supervisory positions the colleague as Associate Academic Dean (Dr. T. Mafico),
would engage in various violent retaliatory acts to humiliate me but ultimately orchestrated my
loss of employment in his position as Interim Dean. I also lost my health, a home, all earnings,
professional opportunities, and Community. I am kindly asking the Court to assist in recovering
all losses as I continue to experience extreme difficulty in continuing treatment.therapy and
keeping shelter and paying medical bills.(Please see EEOC Letter. 2013 Terry
 Tollefson.Investigator, and Mr.Salazar.Claims Summary.2015; any relevant material in Folder).
Sexual Harassment, Office of Academic Dean. and Loss of Georgia Department of Labor
Certification:
For almost ten years I worked in a state of 'virtual' servitude as the school 'held' my immigration
papers preventing me from engaging my own lawyer and blocking any options to seek
employment elsewhere in the United States. After the school's 'holding' of these papers this
long the Georgia Department Labor Certification mysteriously vanished/disappeared whilst in
custody of the Academic Dean (Dr. T. Mafico/Associate and Dr. E. Wimberley). My immigration
status was a constant source of bullying, intimidation and discrimination as I would be denied
access to sign up for Retirement and Pension Benefits, Equitable Salary, Sabbatical requests,
Severance pay, and subjected to harsh treatment and intimidation when seeking any
opportunities for professional growth. (Witnesses: Dr. Michael Battle, President/ITC 2004;
Attorney Lu Wang.2004 ).
Years of bullying , sexual harassment and a sudden loss of employment resulted in sudden
illness, several hospitalizations and a clinical diagnosis of mental health disorders related to
work-place violence.( Salazar 2015 Letter; EEOC Determination 2013; Association of
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Theological Schools ATS Finding. La Rue/email 2016; Dr. Ewing.Director of Foundation-email
and conversation.2017; Medical Records.( Please see documents in folder):

   I.    Sexual Assault and Harassment and Work-Related Illness:
 After rejecting several sexual advances, and surviving an assault from a colleague (Dr. T.
Mafico, Harvard.Ph.DJ, the school promoted him to several powerful Supervisory positions and
Search Committees with knowledge and information of this history of sexual aggression and
violence towards me. I arbitrarily lost my employment soon after he was appointed Interim
Academic Dean.Years of unchecked sexual violence, unpovoked attacks, discrimination and
loss of employment resulted in unexpected illness.
I have been hospitalized three times within the last six years, and been clinically diagnosed with
Work-related mental disorders as: Depression, Anxiety, Expressive Aphasia, and PTSD
(Episodes-coma, psychosis/needing restraint, suicidal), for which I am continuing therapy and
treatment:
Kaiser Permanente Clinic visit (2011) fatigue, dizziness, problem operating vehicle; Anxiety and
Fatigue.Diagnosis; Collapse/Trauma.Emergency Admission, Coma and Hospitalization, 2014 (5
days); 2017; (6 days). Episodes- coma, psychosis/suicidal, restrain (noted as danger to
self/others), loss of speech, cognitive ability, and mortar skills. Diagnosis Workplace
Trauma/Injury. Evans-Blount Clinic, Greensboro NC. 2014; James Austin Health Center, Eden,
NC; Carter Care Center, Greensboro.NC. 2014; Murambi Garden Clinic 2014; Wesley Long
Hospital. 2018. OARS Office (student), UNCG. 2020.( Please see Medical Records).

   II.   Interference, Intimidation and Stalking:
I would also like for the Court to know that between 2012-14, the school administration engaged
in a pattern of 'continued stalking' activities interfering with my efforts at seeking employment.
For example, in 2012-13, the school engaged in activities which blocked an opportunity for a
new position/employment offer (at the point of signing a contract) with a University in Japan
(2012-2013), Witnesses: Dr. HiRho Park, hirhopark@gbhm.org : sawamura@gaines.hju.ac.jp.
Japan; Dr. Ken Yamada.US.); And in 2014 Similar activities occurred at another University
(Witness: Dr. Ewing. Junaluska.email). As a victim subjected to a pattern of stalking, intimidation
and threats of sexual assault and harassment, or on account of Immigration status whose
requests to stop the abuse were ignored I was traumatized and always felt powerless. For
example, in 2005, Dean Wimberley, told me to be 'silent' to the fact that the Search Committee
(led by Dr. T. Mafico), was verbally assaulting , stalking, humiliating, and harassed me during a
long interview process (4 years) for the Chair. Otherwise, he warned, 'any complaint or mention
of this violent interviewing experience to anyone would ruin my professional reputation making it
impossible to be hired anywhere else in Academia.'(2001-2005); (Witnesses : Dr. Hiro Park,
hirhopark@gbhm.org: sawamura@gaines.hju.ac.jp. Japan.; Dr. Walter McHelvey/Gammon.
President.; Dr. Ken . Yamada . General Board of Higher Education and Ministry.( GBGHM).
UMC. US.)

 Ill.     A graduate of Northwestern (Ph.DJ and Duke (Master's) Universities,
          Birmingham-Southern College and University of Zimbabwe (BA), I have been a
                                                I


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       recipient of many Academic Honors and Awards such as, the American of
       Association University Women's International Peace Fellow Award; Lilly
       Foundation Chair, Visiting Professor, Berea College; Adjunct Professor of World
       Religion, Spelman College and Dillard University; Visiting Lecturer, Emory
       University, Ford Foundation Fellow, Visiting Professor/Womanist Scholar, University
       of South Africa; Dorothye and Cornelius Henderson, E. Stanley Jones Chair of
       Evangelism, Gammon/ITC; James M Walker, Chair, Africa University. I have never
       been cited for poor performance or found in violation of any professional standard; All
       Peer Faculty Reviews and Student Evaluations are of the highest quality on File in all
       Colleges and Universities taught. As testimony to effort, hard work, sacrifice, as well as a
       positive attitude in appreciation of others' support as colleagues, students and
       communities, I am not only a published scholar whose work is highly appreciated
       worldwide, but also achieved the academic status of Full Professor.(Please see
       material enclosed). I am a pioneering (woman) Ordained Elder in good standing in the
       United Methodist Church.( Dr. Larcey Warner, Duke University 2005-2014. Colleague
       in E. Stanley Jones Chair. Female) .
 A member of St. John UMC, Eden, N. Carolina, am also currently enrolled as a Graduate
student in the Peace and Conflict Program at the University of North Carolina Greensboro
(as advised by Therapist); I am also a Facilitator and Peace Educator of a Women Refugees
Group.

 IV.    Claims: Please see attached document 2015.
Additional details:
     a) Outstanding Student Loan ; Medical Expenses and Continuing Treatment and Therapy
     b) Pain and Suffering

V.        Witnesses:
     1.   Nicholas Salazar: Attorney Letter on Case, 2015-17.
     2.   EEOC Investigator: Terry Tollefson, 404.562.6970. Atlanta, GA. 2013.
     3.   Association of Theological Schools: Lori Neff LaRue. nefflarue@ats.edu 2015
     4.   Director of Foundation. Dr. J. Ewing. Email. 2017.
     5.   Dr. M. Hale. Professor, Peace and Conflict Studies mrhale@uncg.edu
     6.   Colleagues and other Administrators:Dr. Michael Battle (President/ITC. via Linkedin .);
          Dr. Michael Franklin (President/ITC. Morehouse. via Linkedin) Ms. B Hall. Registrar.
          bhall@itc.edu;Dr. HiRo Park. hpark@gbhem.org (General Board of Higher Ed. and
          Ministry. UMC); Dr. C. Mccrary. cmcrary@itc.edu (Dept. Chair); Dr. H. Welchel.
          hwechel@itc.edu (Faculty Committee Chair); Dr. Walter McKelvey, President/Gammon.;
          Dr. A. Pollard (Emory;Howard);Dr. J. Hopkins.jamalhopkins@juno.com ;J. Chastain, The
          Graduate School, Admissions. jkchastain@uncg.edu; Professor M. Masenya.
          masenmj@unisa.ac.za (UNISA); Dean Dr. D. Jacobs (Turner); Dr. M. Rivage-Seul.
          peggy-rivage-seul@berea.edu ( Berea College); Dr. J. Grant (ITC); Dr. Larcey Warner (
          Duke University, Chair Colleague); Professor L. Dube ldube@usfa.edu .(University of
          San Francisco); Sandra Thompson, Operations Manager, sandra@ascaafrica .org ;
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   Academic Performance Records: Student and Peer Evaluation Files. President
   Matthew Williams/ITC. (Curent); Berea College; Gammon/ITC. Spelman College;
   Foundation For Evangelism Fi/es/Gammon; Emails- Peer faculty, Elon University;
   President, Paine College.
   Students Witnesses Available: Rev. Yvonne White; Riva Edmonds,
   redmonds24@yahoo.com; Ms. Deadra English; Rev. Beatrice Euzonebge (US/Nigeria);
   Mr. Jude Louis (US/Haiti) ; Rev. Derrick Rice; Sunika Washington (Delta Airlines); llunga
   Mwepu .dikonzo@gmail.com.(please see email/in folder); (Many students); Angie
   Sandiago, UNCG; Robert Goodson. Linkedin: Della Spearman ,
   dellaspearman@yahoo.com ; Godfrey Jankie, Lucas Mhere Mosata, AME . Botswana.
   Linkedin ; W Tina Trice-Culpepper. Linkedin;
   Family. Daughter, (Educator).(Guilford County.Greensboro, NC); Daughter, (student) .
   NCSU. Sister. Chicago.IL.

   VI.    Employer/School:Witnesses: Sexual Assault/Harassment; Stalking;
   Bullying; Intimidation; Discrimination and Immigration Status Violence:

1. Mr. Lu Wang, Attorney 2004-; EEOC. Investigator. Terry Tollefson
2. .Dr. Wimberley, Academic Dean.Complicit. Documents.Concealed or Disappeared .
   Arbitrary Letter 'end of funding' employment Letter.(School Files)
3. Dr. Mafico. Interim Academic Dean. Sexual Assault,Harasment, Bullying, Intimidation,
   Stalking , Humiliation (since 1997), Denied Internal Grievance Processes/ Cover up and
   Termination.
4. Dr. Haney, Faculty colleague, Immigration Status Bullying for the first ten years of my
   teaching at Gammon/ITC. (The first semester of teaching she called me to a 'confidential
   meeting' in her office and to my shock explained the purpose was to inquire why with
   Duke and Northwestern degrees I had chosen to teach Gammon/ITC, was it because I
   wanted to fix my papers/After expressing concern about the 'inquisitorial' meeting she
   divulged that Dr. S. Rasor (non-administrator), had requested her to pursue a question
   on my immigration status).
    Complicit-Sexual Harassment. Fabricated Letter to Dean and pilfered envelope from
   President's Office.
5. Dr. Peters, President. Complicit. Ignored the Faculty Grievance Process stipulated in
   the Handbook as well as failed to honor Document protecting faculty rights from arbitrary
   action by Foundation as occurred in my case; Appointed Dr. T Mafico, Interim Academic
   Dean.
6. Dr. Rasor, Faculty colleague, Immigration Status Bullying (since 1998). Verbal assaults
   and threats on the position of Chair/Never shared he was neighbours and their children
   friends with Ms. Carolyn Harvick (Administrative Assistant in Office of School's Lawyers)
   would call verbalizing 'Deportation threats,' for no reason (1998), and somehow filed a
   wrong Petition Status with INS (2003) without my consent knowing a denial of Petition
   would have catastrophic consequences to my work and family stay in the United States.
   It was denied. Even after this illegal activity by its lawyer, the school and lawyers
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         continued to 'hold' my papers rejecting all requests to engage my own Immigration
         attorney.
   7.    Dr. Jack Ewing, Director of Foundation, 3 Campus Visits within a 4 year period ; no
         purpose of visit stated . 2010 Classroom Visits in 'Violation of ATS Principles and
         Standards of Academic Freedom'. Author of Letter to Gammon and Dr. Wimberley
         during Christmas Break of 2010. Openly shared that Dean Wimberly has a reputation of
         being a ruthless person (2018. See Email).
   8.    Dr. Stephen Gunter, 13 Chairs Coordinator/Foundation,. 2 Campus Visits within a
         3-year period offering no stated purpose for visit without or ever showed he had visited
         any of other 12 Chairs as expected in his position.The second was a Classroom Visit
         (clandestinely requested over the phone/2week notice) in which he and Dr. J. Ewing
         (Director) openly announced the purpose of the visit to students as 'to introduce
         themselves and the Foundation and offer all support to the Professor (Dr. Nyajeka) in the
         Chair, as they paid my salary'. It was false. Appointed his 'colleague' to my position soon
         after the letter to Gammon. Appeared at the university I was teaching soon after my first
         hospitalization.
   9.    Bishop Albert. Norris,Acting President/Gammon (2010), Witness to Visits and
         recipient of Letter.(no copy given to the person in Chair).
   10.   School Attorneys: School and its Attorney have all Documents related to my
         case.(Please see email all documents the School and its Attorneys have on File).

I am open to arbitration, meeting with a Judge, or trial of a case before a jury if
recommended by the Judge. Due to illness and inability to work I have failed to secure
adequate funds for legal fees as demanded by lawyers to continue my case (Please see
Chugh Law Firm, request for additional legal fees in Folder).

Sincerely,
Tumani Sheila Mutasa Nyajeka.
2130 Everitt Street. Apt C.
Greensboro, NC. 27401.
Email: tmya;eka@yahoo.com: stnya;ek@uncg.edu (student).
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'           CHUGH
                         Case 1: 20-cv-04434-TWT



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                 Jii•J?H4i¥ilii't'


        A. Lost Earnings:

        I. Pension benefits 1997-2006 (9 x $4,000.00) ................... ... .... .. .. ..... .. .... ......... .... ...................... $36,000 .00

        2. Eq ual pay for Chair and Professorship positions (5 x $38,500.00) .... .................. ...... .. .. ....... ..$192,500.00

        3. 2011/2012 outstanding academic year as Chair with equal pay under contract. .. ................ $85,000.00

        4. Upcoming 2012/2013 sabbatical at UNISA (as earned) .... . ....... ... . .................................. $115 ,000.00

        5. Lost Earnings for academic years 2013/2014 through 2015/2016; (3 x $85 ,000.00) ...... .. ..... .$255,000.00

        6. Teaching during Summer semesters for years 2012 through 2015; (4 x $5 ,500.00) ................. $20,000.00

        7. Personal library lost in office through lack of access ............... ..... ... ..... .. ............. ....................... $5 ,000 .00

        Total Lost Earnings ............................................ ....................................................................... $708,500.00


        B. Personal Damages:

        I. Relocation expense to Zimbabwe and back to U.S ... ..... . ........ . . . .. .... . ............. .... .. . ..... $35 ,000 .00

        2. Medical treatment for depression and psychological trauma ... ..... . ................. . . ..... .... ..... $6,500.00

        3. Loss of 2000 Volvo through repossession .............. ...... .. .... .. ............. . .......... .... .. .... $5,000.00

        5. Loss of residential hom e . .. ......... .. ... .... ................ .. ... .... ... .................... . ... .... .. .$ 179,000.00

        Total Personal Losses ................................................................................... ... $225,500.00


        TOT AL DAMAGES: ............................................... .. ... .. . ............................ . $934,000.00
                                                                                                                                   -;:::. I ·)t;,(J   1   (X/:)·00


    ~                                                                                                                                                     ~
                    s a upo care u y c nsidering the above-stated facts, ITC will satisfy its outstanding
    ob igations to Dr. Nyajeka under he . mployment agreement with ITC. Therefore, based on all of the
         ve facts and claims, we demand that ITC remit to Dr. Nyajeka's counsel within 30 days of receipt of
    this letter, payment in the amount of One Million Two Hu ndred Thousand Dollars ($1,200,000.00) for
    all of Dr. Nyajeka ' s lost wages and damages. Furthermore, we demand that ITC cease usin g Dr.                                                              1
    Nyajeka's likeness in any and all ITC publications, printed materials, and online publications, and rem~~e /
    all likeness from ITC's materials . Should you fail to comply with this demand letter, we will be forceo/




                                                                          Page 10 of 11
           Case 1:21-cv-02664-SCJ-CMS Document 1 Filed 07/01/21 Page 16 of 76
                    Case 1:20-cv-04434-TWT Document 1-1 Filed 10/30/20 Page 6 of 64


 EEOC F011111111•8(11~9)                    U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                          NOTICE OF RIGHT TO Sue (ISSUED ON REQUEST)
 To:    Tumanl NyaJeka                                                                From:    Atlanta District Office
        5846 Cobalt Drive                                                                      100 Alabama Street, S.W.
        Powder Springs, GA 30127                                                               Suite 4R30
                                                                                               Atlanta, GA 30303




       D         On bflllalf of p&(SOt!(B) aggrieved whose Identity Is
                 CONFIDENTIAL (29 CFR §1401. 7(a))

 EEOC Charge No.                                           EEOC Representative                                         Telephone No,
                                                           Terry Tollefson,
 410-2012-01237                                            Investigator                                                (404) 562-6970
                                                                                   (See also fhe additions/ lnformatfon enclosed with this form.)
.NOTIC! TO TH! PeRSON AGORll!Vl!D:                                                                               .
Title VII of the Civil Rights .Act of 1964, the Americans with Disabilities Act (ADA), or the Genetic Information Nondiscrimination
Act (GINA): This is your Notice of Right to Sue, Issued under Title VII, the ADA or GINA based on the above-numbered charge. It has
been issued at your request. Your lawsuit under Trtle VII, the AfJA or GINA must be filed In a federal or state court WITHIN 90 DAYS
of your receipt of this notice; or your right to sue based on this charge will be lost. (The time limit for filing suit based on a claim under
state law may be different.)

       (K]       More than 180 days have passed since the filing of this charge.

       D         Less than 180 days have passed since the filing of this charge, but I have determined that it Is unlikely that the EEOC will
                 be able to complete its administrative processing within 180 days from the filing of this charge.
       (K]       The EEOC is tennlnating its processing of this charge.
       D         The EEOC will continue to process this charge.
Age Discrimination In Employment Act (ADEA): You may sue under the ADEA at any time from 60 days after the charge was filed until
90 days after you receive notice that we have completed action on the charge. In this regard, the paragraph marked below applies to
your case:
       D         The EEOC ls closing your case. Therefore, your lawsuit under the ADEA must be filed In federal or state court WITHIN
                 90 DAYS of your receipt of this Notice. Otherwise, your right to sue based on the above-numbered charge will be lost.

       D         The EEOC is continuing its handling of your ADEA case. However, if 60 days have passed since the filing of the charge,
                 you may file suit in federal or state court under the ADEA at this time.

Equal Pay Act (EPA): You already have the right to sue under the EPA (filing an EEOC charge Is not required.) EPA suits must be brought
In federal or state court within 2 years (3 years for willful violations) of the alleged EPA underpayment. This means that backpay due for
any violations that occurred more than 2 years {3 years) before you file suit may not be collectible,

If you file suH, based on this charge, please send a copy of your court complaint to this office.




                                                                                                                        FEB 1 2 2813
Enclosures(s)                                                                                       h,                       {Date Maffed)
                                                                                 !rector

cc:          Joshua I, Bosln, Esq                                                    Bobby Aniekwu, Esq
             Holland & Knight                                                        BOBBY C. ANIEKWU & ASSOCIATES
             1201 West Peachtree Street                                              Suite 1330 The Candler Building
             Suite 2000                                                              127 Peachtree Street, NE
             Atlanta, GA 30309                                                       Atlanta, GA 30303
          Case 1:21-cv-02664-SCJ-CMS Document 1 Filed 07/01/21 Page 17 of 76
              Case 1:20-cv-04434-TWT Document 1-1 Filed 10/30/20 Page 7 of 64




                    ON RECOMMENDATION OF THE FACULTY OF

                            THE GRADUATE SCHOOL
    NORTHWESTERN UNIVERSITY HAS CONFERRED THE DEGREE OF

                           DOCTOR OF PHILOSOPHY
                                              UPON

                      TUMAN! S. MUTASA NYAJEKA
WHO HAS HONORABLY FULFILLED ALL THE REQUIREMENTS PRESCRIBED
            BY THE UNIVERSITY FOR THAT DEGREE
               GIVEN THIS FOURTEENTH DAY OF JUNE IN THE
              YEAR NINETEEN HUNDRED AND NINETY-SIX A.D .


.e. ~ . ~-.d .~ . . t?.Z~.
        CHAIRMAN OF THE BOARD OF TRUSTEES



 C&:,fh----
        SECRETARl' OF THE BOARD OF TRUSTEES




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- - -- - - - -Case
              ---  1:21-cv-02664-SCJ-CMS
                    - ----                                              Document 1 Filed 07/01/21 Page 18 of 76
       Summary OtfudajQlH61i-04434-TWT Document 1-1 Filed 10/30/20 Page 8 of 64 Page I of2




                                                                                 Summary of Today's Visit
                           James Austin                                NYAJEKA, SHEILA T DOB:10/24/1955
                                                                                            Account No 9371
                           Health Center                                                       Gender:Female
                                                                              Race:Black or African American
                                                                             Ethnicity:Not Hispanic or Latino
                                                                                  Preferred Language:English
                                                                     02/19/2018 visit with Joanna L Carter, NP


         Reason for Visit
        • F/u BH

         Vitals
        •    Temp 98.3 (F)
        •    Pain scale o (1-10)
        •    HR 70 (/min)
        •    BP 124/68 (mm Hg)
        •    RR 18 (/min)
        •    Wt 133.4 Obs)
        •    BMI 24-40 (Index)
        •    Ht 62 (in)
        •    Oxygen sat% 97 (%)
        •    Ht-cm 157.48 (cm)
        •    Wt-kg 60.51 (kg)

         Allergies
        • N.K.D.A.



         Today's Diagnoses Include
        •    F43.10 PTSD (post-traumatic stress disorder)
        •    E55.9 Vitamin D deficiency
        •    Z87.898History of syncope
        •    Z87.898History of aphasia

         Medication List
        • Start Aspirin EC Low Dose : 81 MG 1 tablet Orally once a day,30 day(s) ,30 ,Refills:                        11


        Other medications you are on
        • Taking Ibuprofen : 800 MG 1 tablet with food or milk as needed Orally May take q 8 hours pro onset of
        headache.,30 days ,90 ,Refills: 1 (for: Encounter for general medical examination)
        • Taking Vitamin D (Ergocalciferol) : 50000 UNIT 1 capsule Orally once weekly (on Friday's),90
        days ,12 ,Refills: o


                                  Summary of Today's Visit for- NYAJEKA, SHEILA T DOB :10/24/ 1955 Account No: 9371
                 Rockingham Co Healthcare Alliance 518 S Van Buren Rd Eden, NC 272885033                                     336-623-7711
                              Summary generated by eC/inica/Works (www.eclinicalworks.com)
            This document contains confidential infonnation about your health. To maintain your privacy, do not throw this document in the trash. If
             you do not wish to keep this document for your records, please shred or otherwise securely dispose of your copy. If you are not the
                            intended recipient, please destroy this document and report it to the physician's office named above.




        https://ncjahcapp.ecwcloud.com/mobiledoc/jsp/catalog/xml/print VisitSummary .j sp?encou...                                         2/ 19/2018
-   -   - - - - - -Case
                    --- 1:21-cv-02664-SCJ-CMS
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                                                --                                        1 Filed 07/01/21 Page 19 of 76
            Summary OCfurm)l.'s2Vi~-04434-TWT Document 1-1 Filed 10/30/20 Page 9 of 64 Page 1 of 1




                                                                                   Summary of Today's Visit
                              James Austin                                   NYAJEKA, SHEIIA DOB:10/24/1955
                                                                                                 Account No 9371
                               Health Center                                                        Gender:Female
                                                                                   Race:Black or African American
                                                                                   Ethnicity:Not Hispanic or Latino
                                                                                       Preferred Language:English
                                                                            11/08/2018 visit with Jason Vaughn, NP


             Allergies
            • N.K.D.A.


             Today's Diagnoses Include
                         Depression with anxiety
                         Nonintractable episodic headache, unspecified headache type
                         Hyperlipidemia, unspecified hyperlipidemia type

             Medication List
            • Refill Ibuprofen : 800 MG 1 tablet with food or milk as needed Orally May take q 8 hours prn onset of
            headache.,30 ,90 Tablet ,Refills: 1

            Other medications you are on
            • Taking Aspirin EC Low Dose: 81 MG 1 tablet Orally once a day,30 day(s) ,30 ,Refills: 11
            • Taking Atorvastatin Calcium : 20 MG 1 tablet Orally once a day,30 day(s) ,30 ,Refills: 5
            • Taking Vitamin D3 : 2000 UNIT 1 capsule Orally once a day,30 day(s) ,30 ,Refills: 11
            • Taking Ibuprofen : 200 MG 1 tablet as needed Orally every 6 hrs
            • Discontinued Vitamin D (Ergocalciferol) : 50000 UNIT 1 capsule Orally once weekly (on Friday's),90
            days ,12 ,Refills : o
             Other Medical Conditions (Problem List)
            • F41.8  Depression with anxiety
            • Rs1    Nonintractable episodic headache, unspecified headache type
            • F43.10 PTSD (post-traumatic stress disorder)
            • E55.9 Vitamin D deficiency
            • E78.5 Hyperlipidemia, unspecified hyperlipidemia type


             Your Next Appointment(s)
            • Mon, 28 Jan 2019 at 02:00 PM with Jason Vaughn, NP at Rockingham Co Healthcare Alliance 518 S Van
            Buren Rd Ste 1 Eden, NC 272885033 Phone: 336-623-7711



                                     Summary of Today's Visit for - NYAJEKA, SHEILA DOB:10/24/ 1955 Account No: 9371
                   Rockingham Co Healthcare Alliance 518 S Van Buren Rd Eden, NC 272885033                                     336-623-7711
                                Summary generated by eC/inica/Works (www.eclinicalworks.com)
              This document contains confidential information about your health. To maintain your privacy, do not throw this document in the trash. If
               you do not wish to keep this document for your records, please shred or otherwise securely dispose of your copy. If you are not the
                              intended recipient, please destroy this document and report it to the physician's office named above.




            https://ncjahcapp.ecwcloud.com/mobiledoc/jsp/catalog/x.ml/printVisitSummary.jsp?encou. ..                                        11 / 8/2018
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Swnmary 0£aooaV-i0£wt04434-TWT Document 1-1 Filed 10/30/20 Page 10 of 64Page 2 of2


~otes:
Will attempt to get approval for the carotid doppler and echocardiogram which was ordered while you were in
africa 12/17. You may begin taking Asprin 81mg daily. I will send in the Asprin today to your pharmacy. Since
you do not want to start the atorvastatin they recommended, we will recheck your level as planned in April and
disscuss it further at that time. Follow recommended diet. When you feel that you are ready for a screening
colonoscopy and PAP smear, please let us know. (for: PTSD (post-traumatic stress disorder))
 Other Medical Conditions (Problem List)
 • F41.8  Depression with anxiety
 • Rs1    Nonintractable episodic headache, unspecified headache type
 • F43.10 PTSD (post-traumatic stress disorder)
 • E55.9 Vitamin D deficiency



 Smoking Status
 • nonsmoker

 Your Next Appointment(s)
• .Tbu, 19 Apr ~m.8 at 09.30 :A:ftl        .nth
                                        .Jeaeea I: Cattct,:-NP at Rockingham Co Healthcare Alliance 518 S Van
i'l!.PCB Rd. Ste 1 Eden, NC ?7'l8Ssoaa Phene. 336-6:23 m1




                        Summary of Today's VlSi.t for - NYAJEKA, SHEILA T DOB:10/24/1955 Account No: 9371
       Rockingham Co Healthcare Alliance 518 S Van Buren Rd Eden, NC 272885033 336-623-7711
                    Summary generated by eC/inica/Works (www.eclinicalworks.com)
  This document contains confidential information about your health. To maintain your privacy, do not throw this document in the trash. If
   you do not wish to keep this document for your records, please shred or otherwise securely dispose of your copy. If you are not the
                  intended recipient, please destroy this document and report it to the physician's office named above.




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               Case 1:21-cv-02664-SCJ-CMS Document 1 Filed 07/01/21 Page 21 of 76
                  Case 1:20-cv-04434-TWT Document 1-1 Filed 10/30/20 Page 11 of 64

                                                           Carter's
                                                             .... _.,   _.
                                                           ircle of...Care
                                                          ._

                                         2031-E Martin Luther King, Jr. Drive
                                                 Greensboro, NC 27406



Client Name:   1\A.ffi(l"'\'    ~~w«                  DOB: ___   to.......\U:1........_.,-b5
                                                                                           ____   Record#: _ _ _ __



                                    Review of Assessment Results ~

~~viewed diagnosis with consumer/guardian.
~9iscussed treatment recommendations and intensity of service with consumer/guardian.
G1'Consumer/Guardian acknowledges need for treatment and expresses willingness to participate in recommended
services with CCOC.
□consumer/Guardian will be referred to another provider for some or all recommended services.


Consumer/Guardian responses:


                                                                                 ·Date \~U\lu
                                                                                          "'


 Supervisor Signature & Credentials (if applicable)                               Date



 Other Signature, Credentials, Position (if applicable)                           Date


                                   ••••••••••••••••••••••••••••••••••••••••••••
                                              Interdisciplinary Team Note


  I have reviewed and discussed this Diagnostic Assessment with the Interdisciplinary Team. I concur with the
                                     diagnosis and treatment recommendations.



                                                  or PhD in Psychology                                         Date




                                                       Printed Namt J                 copy

Assessment (FIPrtrnnir \/im:inn\
                                 Case 1:21-cv-02664-SCJ-CMS Document 1 Filed 07/01/21 Page 22 of 76
                                                                                                                                                                                                                       ESS, FILL OUT BELOW
              PiedmontTJ:iiJ~&¥~~~~e~.T Document 1-                                                                             tF

              PO BOX 534
              HIGH POINT, NC 27261
                                                                                                                                                                                           MVt.llMCt.'JC.11:JORADIGrT
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              For all billing questions, call: 336-887-3411
              Office Hours: Monday-Friday 8:00AM-5:00PM                                                                                09/12/18                                   $553.45                                        18-6200
              Website: www.ptarinc.com
              TaxlD: XX-XXXXXXX                                                                                            CHARGES ANO CREDITS MADE AFTER STATI:U£NT                   SHOW AMOUNT                         $
                                                                                                                              DATE WLL APPEAR ON NEXT STATI:MENT.                      PAID HERE
              Patient Name: SHEILA TUMANI NYAJEAKA
                                                                                                                                           -           MAKE CHECKS PAYABLE/ REMIT TO: -

              I,   II"   111 I1, 11, I, I1111 ••I 11• I, J, JI I1••111 I111 •11, .11111,,, 11, 1,, 1     136678-1328
                                                                                                                                               Piedmont Triad Ambulance & Rescue Inc.
                                                                                                                                               PO BOX 534
                   .          SHEILA TUMAN! NYAJEAKA
                              1046 HILL ST                                                                                                     HIGH POINT, NC 27261
          0103DCI
                              GREENSBORO NC 27408-8418                                                                                         I,, I, II,., I,, I, I, II,,,,, 1111 ... ,I,I,,, 11,, lu I.. II,, I.. I,, II, I



D Please check box If above address is incorrect or insurance                                           STATEMENT                                                         PLEASE DETACH AND RETURN TOP PORTION WITH
    Information has changed, and Indicate chanoe(s) on reverse side.                                                                                                          YOUR PAYMENT IN ENCLOSED ENVELOPE

    Procedure Code                                       Description                                   Quantity
                                                                                                               .       .
                                                                                                                           Payer

                                                                                                                            '
                                                                                                                                     ,,.
                                                                                                                                                         Amount                     Contractual
                                                                                                                                                                                     ·Am·
                                                                                                                                                                                                                                 Balance



         A0429                      GUILFORD BLS-E                                                         1                                               $523.59                             $0.00                              $523.59
         A0425                      GUILFORD MILEAGE                                                     2.7                                                $29.86                             $0.00                               $29.86




                                                                                                                                                                                                         I           TOTAL DUE
                                                                                                                                                                                                         I                  $553.45
                                                                                                                                      Date Of Service: 03-04-2018
                                                                                                                                      Incident Number:22030402
    Th1s balance 1s now 30 days past due and needs your att~nt1on.                                                                    Trip Date:       03-04-2018
    If you have questions about this balance or need to set up a
    payment plan, please contact our office immediately, Thank                                                                        Transport From: 1046 HILL ST, GREENSBORO, NC
    you!                                                                                                                                               27401-0000
                                                                                                                                      Transport To:    Wesley Long Community Hospital
                                                                                                         STATEMENT                    Tax ID:          XX-XXXXXXX
.   ~
      , ar1
                                                            SEE REVERSE SIDE FOR IMPORTANT BILLING INFORMATION
                                                                                                                                                                                                                        136878 • 1328
               Case 1:21-cv-02664-SCJ-CMS Document 1 Filed 07/01/21 Page 23 of 76
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From      Beth C. Kincaid, MEO,NCC,LPC,PLLC
          301 South Elm Street Suite 311
          Greensboro, NC 27401




                                                          Invoice

To        TUMAN I NYAJEKA
                                                                                         Invoice   j   #4397
                                                                                      Issue Date       02/10/2020
          3160 NORTH ELM STREET APT 22H
          GREENSBORO, NC 27408


 Client   I TUMAN I NYAJEKA                                                             Provider   I BETH C. KINCAID MEd,
                                                                                                       NCC, LPC
              (336) 740-5360                                                                           TaxlD: XX-XXXXXXX
          I   STNYAJEK@UNCG.EDU                                                                        NPI: #1962454330

                                                                                                       (336) 450--0606
                                                                                                       Bck@bethckincald.com



Date               Description                                                                                             Amount

12/18/2019         Psychiatric Diagnostic Evaluation (First office visit) (90791)                                          $102.78

01/06/2020         Psychotherapy, 60 min (regular office visit) (90837)                                                     $82.78

02/10/2020         LATE CANCELLATION (12)                                                                                      $0

                                                                    Total                                              $185.56
                                                                    Make payments to: Beth C. Kincaid, MED,NCC,LPC,PLLC




                                                Thanks in advance for your payment!
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                UN(                                                                  Student Copy
               GREENSBORO
                Division of Student Affairs
               Office of Accessibility
               Resources & Services

                215 Elliott University Center
                PO Box 26170, Greemboro, NC 27402-6170
                Phone: 336.334.5440 Fax: 336.334.4412
                web: oars.uocg.edu



                                           *CONFIDENTIAL*
                               REQUEST FOR ACADEMIC ACCOMMODATIONS


    TO:     UNCG Faculty

    DATE: October I, 2019

    RE: Fall 2019 Accommodations for Tumani S. Nyajeka (883211887)

    Tumani is enrolled in your course and has requested academic accommodations due to a d isability. This
    letter is provided to infonn you of reasonable accommodations that the Office of Accessibility Resources
    and Services (OARS) has approved for this student based on a thorough review of current documentation.
    These accom modations are intended to maximize the student's participation and success in your course
    and minim ize barriers created by the disabi lity. They should not be interpreted as an alteration of
    academic standards.
CLASSROOM ACCOMMODATIONS                                           TESTING ACCOMMODATIONS
D   Taped Lectures                                                 D   Extended Time (I .5x)
D   Note Taking (Smart Pen)                                        D   Reduced D istraction Setting
D   Sign Language Interpreters                                     D   Assistive Technology (varies)
D Assistive Listening Dev ice                                      D   Reader
D Preferential Seating (Front of classroom)                        0   Scribe
[8J Other: Please offer consideration of assignment                D   Electronic Spell Checker•
due dates due to d isability.
[81 Other: Please allow student to stand or take short             D   4-Function Calculator•
breaks during class as needed .
                                                       □ Other:
       *Please contact OARS if this accommodation will compromise an essential function of this course.

    The implementation of academic accommodations is a shared responsibility between the student,
    professor, and OARS. Please discuss each requested accommodation and how it will be implemented so
    that it is appropriate to both the student ' s needs and the fonnat of your course. If you have any questions
    or need further assistance, please feel free to contact me at 334-5751 k_washin@uncg.edu . ..

    Thank you for assisting us in providing equal access and opportunity for all students.

                                                                                     Date: - ~ - - - -


                                                         irector


           PLEASE SEE REVERSE SIDE FOR INFORMATION ON THE NEW TESTING ACCOMMODATION PROCEDURE.
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              ACCOMMODATIVE TEST POLICIES & PROCEDURES
                           FOR FACULTY
       Accommodations should permit equal access to the curricula while maintaining course integrity. They should
       not compromise course goals, critical knowledge, or academic performance standards. Faculty should hold
       students with disabilities to the same academic standards as those without disabilities. Faculty are
       encouraged to access the OARS website at oars.uncg.edu for further information and resources or contact the
       office with questions or concerns.

•   It is preferable that instructors proctor tests for students. However, students who wish to take a test in
    OARS must complete an online testing accommodations form (for each test) at least seven (7) days prior to
    the date of the test. In the event a student does not schedule to have their test proctored by OARS at
    least seven (7) days prior to the date of the test, (as indicated on their course syllabus/or as announced by
    their instructor), the test must be scheduled to be proctored by their instructor. Instructors may contact
    OARS with questions concerning how to provide test accommodations. *Please note that tests are
    proctored in the OARS office Monday - Friday from 8am to 5pm ONLY.*

•   In extenuating circumstances, per an instructor's written request, OARS may decide to proctor a test that
    is scheduled after the seven (7) day window as a courtesy to the instructor. OARS's decision to proctor late
    test requests will be made on a case by case basis and will be determined based on such factors as; the
    ability to retrieve the test in a reasonable amount of time, availability of staff, testing space, and needed
    access to adaptive technology. OARS cannot guarantee that late test requests can be honored and
    proctored by OARS.

•   In the event OARS decides to proctor a late test request as a courtesy to an instructor, the instructor may
    be asked to consent to allowing OARS to proctor the test at a later/earlier date or time than when the test
    is being given to the class due to spacing and staff considerations. This may be the case during midterms or
    finals week. If an instructor does not find this to be a satisfactory arrangement, he or she will proctor the
    exam.

•   In the event a student arrives late by 30 minutes or more from the confirmed start time, they must obtain
    permission from the professor to begin the test and/or may have to reschedule for another day and time.
    The student must determine if they can finish the test in the time remaining before they start the test. If
    rescheduled the instructor must then notify OARS.

•   It is important that instructors approve/confirm test requests su bmitted by students as soon as possible.
    Please include; how OARS will receive the exam, what materials (if any) the student is allowed to have
    during the test, how much time the class has to take the exam, and how the exam should be returned.

•   Instructors need to notify OARS directly of any changes to the time or date of a test. This should be done by
    email or by phone. It is not sufficient to relay messages concerning test changes via the student.

•   If OARS has approved a student for extended test time, OARS will ONLY allow the amount of extended time
    stated in the faculty accommodations letter. In the event that an instructor allows a student more time for
    tests than what is stated in the faculty letter, the student must make arrangements directly with the
    instructor to have the test proctored because this is an agreement with the instructor; NOT an
    accommodation.
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                                                               STATEMENT


  This is a statement for professional services rendered by your              NYAJEKA. SHEILA
  physician. You may receive a separate bill from the hospital for
  its services.
                                                                              08/30/2019             9371




                                                                                           Rockingham Co Healthcare Allia9ce

     NYAJEKA, SHEILA                                                                       518 S Van Buren Rd
     3100 N ELM ST                                                                         Ste 1
     GREENSBORO NC 27408-8418                                                              Eden, NC 272885033

                                                                                           336-623-7711




  11/08/2018              Claim:1240, Provider.Jason Vaughn, NP

  11/08/2018              Office Visit, Est Pl., Level 3                                69.98
  11/08/2018              VENIPUNCT, ROUTINE*                                           10.00
  03/26/2019              Medicaid of North Carolina/EDS Federal C                                          0.00
                          Payment
  05/22/2019              Medicaid of North Carolina/EDS Federal C                                          0.00
                          Payment
                                       Your Balance Due On These Services_.                                             79.98




                                                                                                       PAY THIS
                                                                                                       AMOUNT        S79.98

                  MAKE CHECK PAYABLE TO :         Rockingham Co Healthcare Alliance




 We are pleased to offer you the option of credit card payment. Please indicate your method below.
Payment Method:                            VISA             MASTER CARD            DISCOVER            AMEX           CHECK
Amount                                                                    Exp. Date:
Credit card No:                                                           Date:
Signature:                                                                CVV:

Aug 30, 2019                                                                                                             4:06:50 PM
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 Telephone: 701555-7                                      Reference: N/rm/25/07 /16
 Fax:263-04-706627                                        Parirenyatwa Group Of Hospitals
 Private Bag CY 198, Causeway                             Mazoe Street
 Zimbabwe                                                 HARARE

                                      ZIMBABWE



 9 June 2017


Delta Airlines
USA



RE:    SHEILA NY AJEKA : AGE: 61 YEARS

This letter serves to inform you that Sheila Nyajeka was admitted at
Parirenyatwa Group of Hospitals, Harare, Zimbabwe from the 09 th of June
to the 131h of June 2017. She is now fit to take a flight.




Dr G Chitiyo                                 P.ARIRENYAlWA GROUP OF
                                                     HOSPITAt..S
CONSULT ANT - PHYSICIAN                     SISTER-IN-CHARGE WARD C6
                       I




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                                        PLACESTICKEAS HERE                      (4~. MINISTRY OF HEALTH AND CHILD WELFARE .· NATl()NAL H~LTH LABORATORY
                                                                                ~ SERVICES REQUEST/REPORT             · '               • ~:_' .,.._   ·.c                                                                                                       O:[ ,' I.                  ·.•


Patient's name:
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Doctor: .......1t:2.It.':..V....................................... Wardt·... ..                                                                                       ..;.   Clinic;al data: ................ ....... ~............................... _....................... ....
Address report to be sent to: .....,.. ...................................... .':.·:...~.:.:.... :.:                                                                           .......................,...~~........................................................................... .
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                        Case 1:20-cv-04434-TWT Document 1-1 Filed 10/30/20 Page 20 of 64
                                                       DR. MAZVITA MACHINGA -Ph. D
                                                                  ( PYO 18/2010)
                                                                  Psychotherapist

 P.O. Box 576                                                             Phone: 0771 754 S19
 No. 3. 13111 Avenue                                                      Email: mmazvl@yahoo.com
 Morningside
 Mutare, Zimbabwe
.,,-...,.                                                                                                             .
             February 5 , 201 S

              Dear Dr . Akinjide - Obonyo

              REF: Tuman! Nyaleka (59 year Female)
                Thank you for refening Tumani Nyajeka for counseling and psychotherapy. Ever since discharge from Murambi
                Gardcm Clinic in December 2014 , Tumani has so far participated in three psychotherapy sessions. She reports
                feeling better after being overwhelmed and grappling with past and ~ n t painful experiences which arc work- {}
                                                                                                                                               l
 (          J--l-"'-U!~t~ .,.,he ~ls she tlnally gpericnced a break down offtmctioning as she had been enduring continuin~ long term
                difficulLIWl,_complex situations from her work place and has not been handling these emotionally painful encounters
                constructively.                         ---...:-

              Mental Status Examination throughout the three sessions.

              Orientation x5- client conscious about time, place, and situation and about her life events.
              Mood and Affect- client' affect and mood appropriat~ for the problem stated indicated by her expressi9ns.
              Thought content- the client is overwhelmed therefore desperate for the situation to change.

      =i      Overall Clinical As.,cssment
                                                                                                                                     fa
                  1. Client re~rted signs and symptoms ~hich sigI!ify psychosomatk~QQ!!~~ ihat _origina_te from emotional
               ()    and psyc' olo · cal stress, distorted thou ht patterns and wor elated oressure. Unfortunately . the.,;t e1"•:t!O!'.!?:
               )                                                     1,
                     an psvchologk,. ctistre~s progress ·••-;~;-, pl .,,..;al symptoms, and can would have7eaioclient 's biological
                   ~ d u e t ~ stress., '""'"' ·' '""s""l'•:C-S~ •'·'"'. ~ ,
                                                                                                                                              )!
                  1 Poorly or madequatell' managed work related Stress bas affected the client's health and, therefore, it's
                     important the client practice regular stress management techniques and change the way she response to
                7 stressful situations.
             { \ 3. Client has supportive husband and this helps in her recovery.
              /                                                                            /) I
              Treatment plan
                 l. Client to engage in 12 sessions of Cognitive Behavioral Therapy that h•:lps her learn.to recognize negative
                      patterns of thought. change her thought patterns, and form habits that decrease unconstructive reactivity to
                      stress.                         ·
                 2. Client to also go through stress management techniques, self- soothing and mindful activities. Tbe goal of all
                      these are to help client improve response to and managing of stressors in e manner that does not negatively
                      impact her health.
                 3. ~lient needs to go through practical .approach to problem-solving since she minimizes issues which later have
                   ,. oevastating effect on her emotions and thought processes.                                                                {



                  I thank you for this interdisciplinary collaboration.
                                                                                                                             •
                  Youp-,"t_.thfully

                  D r . ~ Machinga Ph.D
                  Psychotherapist


              CC. Dr. Mutsemi
Case 1:21-cv-02664-SCJ-CMS Document 1 Filed 07/01/21 Page 31 of 76
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   Case 1:21-cv-02664-SCJ-CMS Document 1 Filed 07/01/21 Page 33 of 76

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~CONTINUATION SHEET

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Case 1:21-cv-02664-SCJ-CMS Document 1 Filed 07/01/21 Page 35 of 76




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                                         Case 1:20-cv-04434-TWT~ q~9urnent 1-1 Filed 10/30/20 Pag e 26 of 64
                                   Dr. A. P. Akinjide-Obonyo
                  BSc. (Hons)(Mancr ..ster) MB, Ch.8,(Hons.)(Manchester/ MRCP (London)                                                        Dr. A. P. Akinjlde-Obonyo
                                        Consultant Physician                                                                  BSc. (Hons)(Manchester) MB. Ch.B,(Hons.)(Manchester) MRCP (London)
TCLl:,-1-iON1E1
                                                                                                                                                   Consultant Physician
8UROEAY • 0 1 077 ,                                                               •   ■ ECDND ■ T R l: CT
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                    Case 1:21-cv-02664-SCJ-CMS Document 1 Filed 07/01/21 Page 37 of 76

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    Fw: Forwarded 2 Documents; Sexual Harassment at Gammon/ITC.
    Tumani Nyajeka <tmnyajeka@yahoo.com>
    l I' ll   912 4/2 0 2. 0 2:08 PM
    To: Ods00312Cpc < Ods00312Cpc@OfficeDepot.com >
    [C AUTION : EXTERNAL SENDER]




    ----- Forwarded Message -----
    From: Tumani Nyajeka <tmnyajeka@yahoo.com>
    To : "Ods00312cpc@offi cedepot.com" <Ods00312cpc@officedepot.com>
    Sent: Saturday, April 7, 2018, 11 :21 :35 AM EDT
    Subject: Fw: Forwarded 2 Documents: Sexual Harassment at Gammon/I TC .




    --- On Wed , 12/20/17 , Tuman i Nyajeka <tmny,gjeka@yahoo .com> wrote :

    > From: Tumani Nyajeka <tmny1;1jeka@yahoo.com>
    > Subject: Forwarded 2 Documents: Sexual Harassment at Gammon/ITC .
    > To: "neff@ats.edu" <neff@ats.edu>
    > Date: Wednesday, December 20, 2017, 1:59 PM
    > Lori,
    > Good afternoon . I have wanted to follow up on
    > your May 6, 2016, recommendation that I fi le a documented
    > compla int for the record in regards to sexual assault and
    > harassment at Gammon/ITC .
    > I also hope you have been receiving some of the
    > early 2017, social media cases I forwarded your way before
    > the 'Holywood Avalanche' .
    >
    > Have a Merry Xmas and Happy New Year!
    > In Christ,
    > Tum ani .
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    •   SEXUAL ASSAULT AND HARASSMENT, GAMMON/ITC:

(ATS . COMPLAINT FOR THE RECORD) . ~ \t         ,~ t \ .


A TIMELINE .·(UnEdited) .



I. Sexual Assault and Harassment by Dr. Mafico . A Brief Summary.



1. In October of 1998, Dr. Temba Mafico, sexually assaulted me after a meeting in his office .

            1.   After the shocking incident I would silently endure many forms of aggressive behavior
                 and sexual advances from Dr. Mafico .

            2.   Managing to repel his persistent aggression triggered resentment wh ich left him
                 unashamed to openly express angry and hostile in all matters of our professional
                 interaction .

            3.   In 200 1, I mustered the courage and openly shared the 'shameful secret' of being a
                 victim of th is escalating violence with Dr. Wimberly, as Dean; Dr. Haney as Area Chair;
                 and Dr. Grant, as a colleague .

            4.   Instead of addressing and protecting me from further vio len ce I would be Dr.
                 Wimberley, appointed Dr. Mafico to a powerful position of Associate Academic Dean,
                 Gammon/ITC.

            5.   In this position of power, Dr. Mafico, would openly terrorize me as I watched him resort
                 to multiple tactics to either interfere or block all my efforts at accessing opportunities
                 for professional growth . All complaints to Dean Wimberley, were ignored .

            6.   In 2009, I would once again asked Dr. Wimberley, to address and stop Dr. Mafico 's
                 network continued interference w ith my work , he instead advised me to turn the other
                 cheek and 'be nice' to him .




II. Dr. Mafico and Non-Renewal of my Contract .



            7.   In March 2011, in his capac ity as the newly appointed Interim Academi c Dean Dr.
                 Mafico, gate crashed a meeting I had arranged to confidentially meet with Dr. Peters,
                 the new President of ITC. regarding a 'three -sentenced non -renewal of contract' letter
                 that had been personally written in January by Dr. E. P. W imberl ey, as Dean of
                 Gammon/ITC.
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In this meeting Dr. Mafico, openly verbally assaulted and humiliated me by claiming he had 'brought me'
to Gammon/ITC. This lie symbolized my condition of helplessness at the power Dr. Mafico, wielded using
it to sexually terrorize and abuse me each time Gammon/ITC adminstration promoted him .



           8.   In this poweful position of Interim EVP, GammonlTC, Dr. Mafico, was allowed by
                administration to deny all my requests for an internal Grievance Process to review the
                non -renewal of contract which had been unilaterally written by Dr. E. Wimberley. Denial
                of an internal grievance process by the Acting Dean, would result in loss of employment
                within a three- month period .



           9.   In July, 2011, Dr. Mafico, continued to exhibit his behavior of sexual harassment and
                intimidation through stalking me . For example, whilst teaching an evening Summer class
                Dr Mafico, without warning suddenly appeared, stood in the door-way for a while and
                walked away without saying a word . Since they had no idea of a certain side of his
                behavior towards me students in this class were left quite disturbed by the incident.(Dr.
                Battle, or Student witnesses to the incident available to verify stalking behavior directed
                at me) .



            10. lnspite of many requests and complaints seeking protection from Dr. Mafico's
                workplace sexual violence for 14 years, Gammon/ITC adminstration failed to hold him
                accountable creating a work environment that would guarantee safety and security.



            11. In March 2011, Gammon/ITC appointed Dr. Mafico, to Acting Academic Dean, a
                Supervisory position he used to retaliate against my success at repelling all relentless
                forms of his sexual assaults and harassment from him .



            12 . Gammon/lTC,s failure to address extreme forms of sexual assaults and harassment from
                 Dr. Mafico, as well as xenophobic violence from his 'friends', Drs . M . Haney and S. Rasor
                interfered with and ended my work . I worked in a toxic and hostile workplace in which it
                became very difficult to leave for 14 years at ITC.
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Fw: (CONFIDENTIAL) SEXUAL ASSAULT AND HARASSMENT, GAMMON/ITC:
Tumani Nyajeka <tmnyajeka@yahoo.com>
ih, ' •.'i't1/L0 20 2:10 PM
To: Ods00312Cpc < Ods00312Cpc@OfficeDepot.com >

[CAUTION: EXTERNA L SENDER)




----- Forwarded Message -----
From: Tumani Nyajeka <tmnyajeka@yahoo.com>
To: "neff@ats .edu" <neff@ats.edu>
Sent: Wednesday, December 20, 2017, 12:33:27 PM EST
Subject: (CONFIDENTIAL) SEXUAL ASSAULT AND HARASSMENT, GAMMON/ITC :

SEXUAL ASSAULT AND HARASSMENT, GAMMON/ITC:
(ATS. COMPLAINT FOR THE RECORD).

A TIMELINE . (UnEdited).

I. Sexual Assault and Harassment by Dr. Matice. A Brief Summary.

1. In October of 1998, Dr. Temba Matice, sexually assaulted me after a meeting in his office .

     1. After the shocking incident I would silently endure many forms of aggressive behavior and sexual advances
        from Dr. Mafico.         , ., >-)Q,..,~~
     2. Managing to repel ~rsistent aggression triggered resentment which left him unashamed to openly express
        angry and hostilejn all matters of our professional interaction.
     3. In 2001, I mustere'd the courage and openly shared the 'shameful secret · of being a victim of this escalating
        violence with Dr. Wimberly, as Dean; Dr. Haney as Area Chair; and Dr. Grant, as a colleague .
     4. Instead of addressing and protecting me from further violence I would be Dr. Wimberley, appointed Dr. Mafico
        to a powerfu l position of Associate Academic Dean . Gammon/I TC .
     5. In this position of power, Dr. Mafico, would openly terrorize me as I watched him resort to multiple tactics to
        either interfere or block all my efforts at accessing opportun ities for professional growth. All complaints to Dean
        Wimberley, were ignored.
     6. In 2009, I would once again asked Dr. Wimberley, to address and stop Dr. Mafico 's network continued
        interference with my work, he instead advised me to turn the other cheek and 'be nice' to him .



II. Dr. Matice and Non-Renewal of my Contract.


     1. In March 2011 , in his capacity as the newly appointed Interim Academic Dean Dr. Mafico, gate crashed a
        meeting I had arranged to confidentially meet with Dr. Peters, the new President of ITC. regarding a 'three-
        sentenced non-renewal of contract' letter that had been personally written in January by Dr. E. P. Wimberley,
        as Dean of Gammon/ITC.


In this meeting Dr. Mafico, openly verbally assaulted and humiliated me by claim ing he had 'brought me' to
Gammon/ITC . This lie symbolized my condition of helplessness at the power Dr. Mafico , wielded using it to sexually
terrorize and abuse me each time Gammon/ITC adminstration promoted him .


     1. In this poweful position of Interim EVP, GammonlTC , Dr. Mafico, was allowed by admin istration to deny all my
        requests for an internal Grievance Process to review the non-renewal of contract wh ich had been unilaterally
        written by Or. E. Wimberley. Denial of an internal grievance process by the Acting Dean , would resu lt in loss of
        employment within a three- month period.
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             Case 1:20-cv-04434-TWT Document 1-1 Filed 10/30/20 Page 31 of 64
   i_ In July, 2011, Dr. Mafico, continued to exhibit his behavior of sexual harassment and intimidation through
      stalking me . For example, whilst teaching an evening Summer class Dr Mafico, without warning suddenly
      appeared , stood in the door-way for a while and walked away without saying a word . Since they had no idea of
      a certain side of his behavior towards me students in this class were left quite disturbed by the incident.(Dr.
      Battle, or Student witnesses to the incident available to verify stalking behavior directed at me).



   8 years
     lnspite of many requests and complaints seeking protection from Dr. Mafico's workplace sexual violence for 14
           , Gammon/ITC adminstration failed to hold him accountable creating a work environment that would
      guarantee safety and security.



    11,.ln March 2011, Gammon/ITC appointed Dr. Mafico, to Acting Academic Dean , a Supervisory position he used
    ·1 to retaliate against my success at repelling all relentless forms of his sexual assaults and harassment from
       him.



    ~Gammon/lTC ,s failure to address extreme forms of sexual assaults and harassment from Dr. Mafico, as well as
      xenophobic violence from his 'friends ', Ors. M. Haney and S. Rasor interfered with and ended my work . I
      worked in a toxic and hostile workplace in which it became very difficult to leave for 14 years at ITC .


Ill. EEOC.

Please Note: A 2012/13 Investigation by the EEOC , concluded that Gammon/ITC was liable for many forms of
harassment and discrimination which included sexual assault and harassment by Dr. T. Mafico. (Please see EEOC .
doc. attachment).                                                                    ·




Sent from my iPad
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                Case 1:20-cv-04434-TWT Document 1-1 Filed 10/30/20 Page 32 of 64

Fw: ATS

Tumani Nyajeka <tmnyajeka@yahoo.com>
rl, I f1/? 4i ?02() 2: 11 PM
To: Ods00312Cpc < Ods00312Cpc@OfficeDepot.com >

[CAUTION : EXTERNAL SENDER]




----- Forwarded Message -----
From: Tuman i Nyajeka <tmnyajeka@yahoo.com>
To: "jaymen .chavda@chug h .com" <jaymen. chavda@ch ugh .com>
Sent: Thursday. March 9, 2017 , 02:25 :27 PM EST
Subject: Fw: Re : ATS



--- On Fri, 4/1/16, Nicholas Salazar <nicholas.salazar@chugh .com> wrote:

> From: Nicholas Salazar <nicholas.salazar@chugh.com>
> Subject: Re : ATS
> To: "Tuman i Nyajeka" <tmnyEjeka@yahoo.com>
> Date: Friday, April 1, 2016, 9:26 AM
> Good morning Dr. Nyajeka ,
>
> I hope that all is well and that you are in great spirits!
>
> I am pull ing that letter right now. I will mail you back the
> original and keep a copy. I will also scan it and
> email it to Ms. LaRue. I will copy you on that email.
>
> Nicholas Salazar, J.D., MBA I Attorney at Law
> Chugh , LLP
> 8800 Roswell Road . Building C, Suite 230 I Atlanta , Georgia
> 30350
> Direct: 770 .88 1.9208 I Main : 770 .270 .1860 I Facsimile:
> 678.412.4669
> Los Angeles I Santa Clara I Edison I Atlanta I Washington ,
> D.C.
> Bangalore I Chennai I New Delhi I Mumbai I Chandigarh I
> Ahmedabad
> www.chugh .com
>
>
>
>
    - - - -- - - - - - - - - - - -- -
> From: Tumani Nyajeka <tmnyEjeka@yahoo.com>
> Sent: Thursday, March 31. 2016 11 :53 AM
> To: Nicholas Salazar
> Subject: ATS
>
> Nick ,
>
> Good morning . Could you please ask your Admn . Asst . to
> forward the Peters' letter on non-renewal of contract so I
> can forward to Rev. Neff at ATS . You should also feel free
> to forward it directly to her at : neff.larue@ats.edu.
> They have not asked for the document but it will be easier
> for them to have it on file .
>
> Stay Well.
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           Case 1:20-cv-04434-TWT Document 1-1 Filed 10/30/20 Page 33 of 64




Tumani Nyajeka in in~ d;C k,io yahou.con1 ··
        ·. , :1 cn .c hanla(ii,chu gh.com
             .,1 ' 'I I . '



--- On Wed , 2/1/17 , Tumani Nyajeka <tmnyajeka@yahoo.com> wrote :

> From . Tumani Nyajeka <tmnyajeka@yahoo .com>
> Subject: Letter and Transcripts
> To: win      lake·unaluska.com
> Date: Wednesday, February 1, 2017, 3:36 PM
> Dr Ewing ,
>
>
> Happy New Year! Please read the letter attached briefly
> telling you the story of my experiences teaching on faculty
> at Gammon/ITC . I have wanted you to have this story for your
> records but was unable to do so since your abrupt departure
> from the Foundation of Evangelism was soon after the letter
> to Gammon in 2010 .
>
>
> I continue to wish you the best and will continue to pray
> for your success as Executive Director and CEO of Lake
> Junaluska .
>
>
>
>   Sincerely , In Christ,
>
>   Tumani Mutasa Nyajeka . (Ph .D).
         Case 1:21-cv-02664-SCJ-CMS Document 1 Filed 07/01/21 Page 44 of 76
             Case 1:20-cv-04434-TWT Document 1-1 Filed 10/30/



     Thank you Tumani for sending th is information to me. I am so sorry that your departure from Gammon
     was so pa infu l. Wh ile humans will sometimes fa il us we can rest in the assurance of God's constant love
)]   and grace.


     Jack Ewing
     Executive Director




     91 N Lakeshore Drive I PO Box 67 I Lake Juna luska, NC 28745
     828 454 .6702 I Fax. 828.452.2225
     Nww IakeIunaluska .com

     Follow Lake Junaluska on Twitter
     (~onr, ect w ith Lake Junaluska on Facebook

     Hide original message
     On Wed , Feb 1, 2017 at 3:36 PM , Tu mani NyaJeka <tmnyaIeka(wyahoo com> wrote
     Dr Ew ng ,


     Happy New Year! Please read the letter attached briefly tell ing you the story of my experien ces teaching
     on faculty at Gammon /I TC I have wanted you to have this story for your records but was unab le to do so
     since your abrupt departure from the Foundation of Evangelism was soon after the letter to Gamm on in
     2010


     I continue to w ish you the best and will continue to pray for your success as Executive Director and CE O
     of Lake Junaluska



     Sincerely In Ch ri st

     Tu mani Mutasa NyaJeka . (Ph D)
      Case 1:21-cv-02664-SCJ-CMS Document 1 Filed 07/01/21 Page 45 of 76
          Case 1:20-cv-04434-TWT Document 1-1 Fi e< \ . _ ( ~ ~ 3JJ'!,4

                                                                      r:-.        L ·,         I 1.       )1
  Executive Director and CEO
                                            (i-,&<- s~J._0_[ uM-<t(}\J- L
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                                                                                           ~ (_J q~
  Lake Junaluska .

  Jack,

  I am writing to let you know it was a real joy to re-link with you in your ' new' position as Director of
  Lake Junaluska, during the Western North Carolina Annual Conference . I have wanted for a long time to
  applaud you for the courage you took when yotf5eized the opportunity and quickly changed jobs
  choosing to work in a non-violent context away from the nefarious activities of the Foundation for                 ,...
  Evangelism .In my case the Foundation did become the 'Trojan Horse' by which a networ_k,,olr,~uel           r,..   \ie\, " \
  colleagues finally accomp lished a goa l they had set fifteen years earlier: to deny me as   !'O;,lfnl~Lt~t!
  immigrant, African1 higA,ly~ and competent member of faculty employment at Gtr;,mon/lTC.                                  '

  Whoever depicted Dr. E. P .Wimberly's character as ' Brutal and ruthless' to you accurately captured the
  way he exercises power if) positions of leadership. In my case he was not alone. From the day I took up
  a position to teach at ITC (f~~~ "Jolding a Lilly Foundation Visiting Chair, at Berea College, in Kentucky) I
                          " and resentment from three faculty colleagues~ an African Amer ican_lemale
  encountered open hostility
  (xenophobe); a Caucasian male (racist); and a Zimbabwean male (misogynist.sexually harasft!W. The first
  too declared I was 'too qualified' to join Gammon/ITC faculty and .shou1a-1eave to teach el~;_;,;h-ere_.and
                                                               ...f,s;t--1 Jw-{ <v\U
  the Zimbabwean male, subjected me to sexual!v harassment which turned into gender violence after
                                                                 /\
  rejecting his advances for the fourteen years I was on Gammon/ITC faculty .

  In my first semester of teaching the two colleagues in my Area quickly acted on this hostility and
  resentment by launching a ten-year, 'Inquisition style' of bullying tactics tampering with the school's
  processing of immigration documents seekin]"t~render me a& ineligible for employment at
                                                 //'
  Gammon/ITC. The~ first ten years of teaching unfolded into nightmare as the school 'held' these
  documents finding myself working under conditions of 'virtual servitude ' 1being harassed and bullied ;
  benefits and an equitable salary denied or withheld ; faculty deve lopment opportunities ( interviewing
  processes for promotion of faculty development would always degenerate/ turn into 'witch -hunt'
  torturous experiences as one or two of these bully colleagues 'found their way' into every interviewing
  committee in which my name appeared for consideration or professional growth); I was denied the
  right to engage my own attorney to rescue me from the imm igration document processing (meaning I
  was not free leave Gammon/ITC); False Faculty Evaluation material was manufactured and secretly
  planted in my file to justify non-renewal of contract; aggressive sexual harassment~ was allowed to
  turn into an extreme form of gender based violence was ignored every time I asked the Dean to address
  the matter (dean Wimberley, actually advised me to 'try hard and be nice' to the Zimbabwean males
  who were assau lting me'(all whom he personally knew); government documents authorizing my
  employment at ITC vanished suddenly whilst in custody of Dean Wimberley as I was in the middle of
  interviewin~or the Chair of Evangelism ( the African American female, and Zimbabwean male, bully
~ u n d their way into membership of the Chair of Evangelism Searc' ! Comm ittee, and the two
~ e d an interviewing process that would turn into a four-year nightmare of a bullying campaign
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against my selection in which they manufactured stories, reviews and hurled insults seeking to justify h ie;<.!::::          li\r
my candidacy for the Chair. Some of these were : I was 'over-qualified; position not for a Duke or
Northwestern University graduate; too competent in current teaching position and should remain
there; Methodist entitlement syndrome etc'. ('leaked' in corridor by Dr Mafico, as he gloated decision to
                                                                        I .
deny my candidacy and continue Search for Chair of Evangelism, by their Committee .)

Through the leadership of Dr. M . Battle, then President of ITC being selected and appointed into the
Dorothye and Cornelius Henderson, E. Stanley Jones Chair of Evangelism was not only an honor but also
a sigh of relief as I anticipated a new beginning with add itional moral and resource support from a
Foundation guided by the United Methodist Churctisglobal human rights principles . This opportunity was
another Good News as it had taken so many angels like the l~e Dr. Thomas Langford, at Duke University
to support a passion and commitment to Christian ministry'i, an immigrant, woman, clergy of Southern
African origin . That is why I was so happy to welcome you the day you came for a class
                                                                                   r-;:
                                                                                        visit.. (after a
strange request by telephone for such) with Dr. Gunter: At my invitation we team taught me Intro. to
Evangelism, class and you openly and clearly stated the reason for your class visit as to 'pledge support'
for my work in the Chair a~ammon/lTC . s.pake to a class of 35 Master of Divinity/Graduate students.
                           . ~ N'l( 1" 17 ..l
You should also know tha a_!_~ I ~ assumed that having been a member of faculty at Candler,
Emory University for a long time Dr. Gunter, as coordinator of Chairs of Evangelism, knew or was
personal colleague to one or two of the three b~llyacuity colleagues -.yhose resentment and hostility at
                                                                         ,._;.:,.~
my appointment to ~e Chair remained vicious _ .        argeted violence open and escalating (Dr. Battle, as
President. A Witnes!7~6't~~t'e'b me from this violenc.e~o 4 y~ars) . Th; reason for your class visit with
                                             Jc w <(le J 4 +-• ~ J ,_;,'l.C. '>
Dr. Gunter, as ~given to students and lecturer was ra se but also in extreme violation of the
                                                                  1
Gammon/ITC Faculty Handbook; The Principles andStandards ine ATS and SACS, Dr Gunter (x2); and
yourself (x2) as 'officials' of The Foundation for Evangelism within a four year period had conducted 3
'official sites visits' to Gammon/ITC. Neither I nor the President of ITC (Dr Battle_) wa~ inform~d of the,te
'pla% to visitiand each time no purpose, report or review for/on visit was giverut     ~~ Qc).
                 1
                         ( c;e11cu- l                   (~<-- )
Soon after your class visit you wrote a letter to Gammon, primarily highlighting what was given as a) Dr.
Wimberley's incompeten1 as Dean, in communicating with th~ Foundation (2 pages); b) recommending
I teach in position of Chair another academic year only because
                                                           ., even though an outstanding scholar and
teacher, I was not communicating well with the Foundation (1 sentence).(False~ I had been to the
Annual Meeting in Chicago, 3months earlier with everyone,as I had diligently made the effort to d~~ith
very little resources for 4 years) .Again, this letter from the Foundation was in violation of every
Principle and Standard that protect the rights of faculty members teaching in US Colleges and
Un iversities.                                                                                 ,   C,. v..,.)6-.hVV\ '-jli. l''   1M C:..
                                                                                               •r iv..· coe1 j
You should not be surprised to know that Dr. Wimberly decided to conceal his copy of the lette~and,
with the 'secret' help of Dr Haney, proceeded to immediately write a three-sentenced letter to me in
which he stated that the school would not renew my contract in June, because a) funding from the
Foundation had ended (false) and b) he had received a written complaint regarding my performance
from the Area. Both explanations were false . In February Dr Mccrary, as Area Chair found out that over
the Christmas holiday the Dean had secretly worked with Dr. Haney, (who by then had taken her work-
place bullying skills to another level as she manufactured a bogus faculty Evaluation document; pilfered
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an Official envelope from the Office of the President of ITC (new President)' and submitted it to
                      · t.t- \..~\<'...I'                                    '
Wimberley, but dated·.:S days than the three -sentence non-renewal of contract letter by Dean to me ).
The letter you wrote to Gammon fr~\m t -t {fov~~ation' became the instrument used to orchestrate a
professional and personal nightmare ~s} lost my employment within a three-month period after many
years of workplace, bullying, discri~lnation, and sexual harassment. In doing so these bully colleagues
        r      1
literally threw me and a ten-year old child into the streets, in the United States.

I would urge you to find time and be available to your brilliant daughter as she tries to navigate, seek
support, and inclusion from colleagues and the institution she has chosen for teaching and affiliation . It
is wrong for institutions to continue maintaining punitive misogynistic cultural practices that deny gifted
women access and support as welt as the ability to fully exercise their capacity to teach, lead or
engag?'communities of their belonging. I have been praying for her.

Do not hesitate to verify any statement or claim made in this brief letter. (Some contact persons: -
xenophobia, racism and misogyny: Dr. Rosetta Ross, Spelman College, Dr. Jackie Grant Gammon/ITC, Dr.
M. Battle, President ITC- Scholarship and work in Chair of Evangelism- Dr. Walter McHelvey, President
Gammon, Dr. Michael Franklin; Dr. Larceye Warner, Duke, Divinity School, Dr. J.Z. Kurewa, Africa
University; Research as Scholar or student- Dr. Ted Campbell, Southern Methodist University; Professor
M . Masenya, The University of South Africa (UNISA); Dr. Ken Yamada, GBHM ; A commitment to
ministry and the church and its mission- Bishop E. Nhiwatiwa, Zimbabwe, Bishop J. Nhanhala,
Mozambique) . Many students available to speak to anyone regarding any aspect of my being part of this
academic community-Gammon/ITC.

I pray that Christ continues to give you the courage and wisdom to shun these networks /circles of
tireless 'wolves in sheep's clothing', who hunger and thirst for nothing but to inflict pain on the innocent
and God's creation . (Matt. 5.5) .

Sincerely in Christ,




TumaniMutasaNyajeka . Ph .D.




                                                                                                               _J
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 Bishop Alfred L. Norris, Sr.                                                                 Dr. Tumani Nyajeka
Bishop-in-Residence at Gammon                                                      Appointed to The Dorothye and
                                     Bishop Alfred Norris, Sr. has                  Bishop Cornelius Henderson
                                been elected to serve as Bishop-in-
                                Residence at Gammon Theological                      Chair and E. Stanley Jones
                                Seminary. Bishop Norris retired from
                                the episcopacy in July 2004. He                      Professor of Evangelism at
                                served as the resident bishop of
                                Houston area upon his retirement.                          Gammon/ITC
                                     Bishop Norris is from New
                               Orleans, Louisiana where he served as              Dr. Tumani Nyajeka, Assistant Professor
                                a Pastor. and District Superintendent.         of Missiology and Religions of the World at
                                B ishop Norris is married to Dr.               The Interdenominational Theological Center
                                Mackie Norris and they have a son              has been selected by The Board of Trustees
                               and daughter and four grandchildren.            of the Foundation for E,angelism of The
                                     Bis hop Norris will primarily             United Methodist Church. She will hold this
work in the areas of Recruitment and Fundrai sing for the seminary.            position for three academic years beginning
Bishop Norris is formerly one of the past president's of Gammon                July I, 2005.
before bdng elected to the episcopacy.                                            Dr. yajeka is ordained in the Z1mhab"e
      We welcome Bishop Norris's return to Gammon in this capacit)             Annual onfcrencc of The United lethodist
and look forward to the creative and ~-tratcgic efforts he will bring to       Church and has worked with the women 's
this office.                                                                   1110\·ement in that country, which is an
                                                                               e\·angehstic model, stated Dr. Edward Wimberly. Vice-President of
                                                                               Academic Services at ITC. She has worked with the Wesleyan cell
                                                                               group, which is significant for the students at ITC and for church grov.th
  SAVE THIS DATE!                                                              in the United States.
                                                                                        Nyajeka has been teaching exclusi\'ely in the field of
    SEJ Black l\f ethodists for                                                       evangelism and related subjects, i.e ., Wesley studies, new
     Church Renewal, Inc.                                                             cong regational development in the program of E,angelism. She
                                                                                      will participate in the Academy for E,angclism in Theological
              Ann ual Meeting                                                                                 Education with other E. Stanley Jones
                                                                                                              Profe sors of F,angelism in October 6-8,
         October 27-29, 2005                                                                                  2005 in Washington, D.C.
          Jackson, Mississippi                                                                                  The Foundation for Ernngelism makes
                                                                                                          • grants to the United Methodi st seminaries
         Rev. Albert Shuler, D.S.                                                                             to support      hri stia n e,·angehsm by
          Jurisdictiona l    oordin ator                                                                      establishing and continuing E. Stanley
                                                                                                              Jones Professorsh ips jn Evangelism . The
                                                                                                            •C hair is named for Gammon's former
                                                                                                              President. Bishop Cornelius L. Jknder~on
                                                                                                              and his wife Dorothye.


    NEW HORIZON                                                            Rev. Dr. Alonzo Campbell
     GAM~ION TH EOLOG IC L                                       Outgoing National Alumni President
          SE MI!\' RY                                       Rev. Dr. Alonzo Campbell of Denham pring ,
          653 Bednvith St., SW                           Loui iana has given outstanding leadership over
          Atlanta, Georgia 30314                         the past years as National Alumni Pre 1dent and
                                                         Vice-Pre~ident of the National Gammon Alumni
                                                         Association.
          Bish op M elvin Talbe rt
                                                            He has left a lasting legacy of support in the
          Chairman of the Board                          areas of recruitment of prospccti,e students for the
                                                         seminary and an unparalleled and tireless worker
         Dr. Walter H. McKeh·e)                          as a fundraiser for Gammon His participation and
               President-Dl!an                           lcadcrship in the Lou1s1ana Conference: a~ a Board
                                                         nf Trustee and chu rc h mJn wil l hc f<HC\Cr
         1'lr-. 1\ladd_\n C Greene
                                                         appr..:-:1a1e<l by all the pcopk h<! ha, tlluchc<l.
                     Editor
                                                            Re~. Dr. Campbell is truly one of the prophet.
                 404/581-0310                            that Gammon has trnined. Dr. Campbell 1s married
             mcgreene a itc .edu                         to Jacquel y n and they ha,c on!! son He is
                                                            ~ r        ~   in_ h ii r,    r :1t R ,t,,•11    [ .,k~


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                                                               SUMMER .,                                                             August 2005

                                      Dr. Walter Henry McKelvey
, , p raise       God frcm Whom all hies ings
             flow!" Gammon is celebrating. We
                                                 our alumni , connectional ana conso!tia
                                                 support. The mission of Gammon continues
             continue to be blessed. Much has    to be alive and well because of its relationship
happened, is happening and planned . As          to the United Methodi s t Church, its
President-Dean for eight and a half years, I     members h ip in the consortia of the
have experienced and witnessed an abundance      Interdenominational Theological Center and
of success. We ha,·c had our share of ups and    the support given to the institution by alumni
downs but more ups than downs. As a result the   and friends .
institution continues to be vibrant and alive.        The physica l challenges continue .
      Our mission of recruiting, supporting,     Property maintenance and upkeep arc
and educating pastors and leaders for The        phenomenal. Several years ago we renovated
United Methodist Church is alive and well.       our Willis J. King Apartment Complex. Even
Over these past eight years, we have             now, there remain maintenance challenges
graduated nearly two hundred new leaders.        with this building. Currently we are renovating
The goal is to continue to impact ministry in    the Gammon Building at a cost exceeding two        watch for the formal notices and imitations
the United Methodist Church, the church          and a half million dollars. We celebrate this      that ,,;11 come to you through the mail and on
universal and the world ~t large. While our      feat and plan rededication at our Founders'        the gam111011se111i11mJ:org web-site.
numbers arc somewhat smaller than the other      Day Festivities October 10-12, 2005.                     Continue to be in prayer for Gammon as
UM related theological schools, the quality of        The desire is to mo,·c enrollment to a        we forge ahead.
leader hip displayed by our grads matches        higher level and have building anJ facilities
any and all others.                              meet desired codes and ]i\,ing standards.            "Light, Freedom, Truth , he en·r these ow·
      The primary needs of Gammon run                 Alumni and friends arc invited to save                                    own ;
parallel to many institutions of higher          the October I 0-12 dates . This year we                              Light tu seek the Truth,
learning. The needs arc couched in the areas     celebrate the I 22nd year of our founding .                        Freedom tu make it kno,rn ,
of recruitment and adequate fiscal               Thematically, we will revolve around various                         Our work, God 's work,
maintenance. However, we arc grateful for        issues related to rel igion and politic~. Please                   our ll'i//, God's wi/1 alone."


GAMMON THEOLOGICAL SEMINARY 122 nd FOUNDERS' DAY
     AND THIRKIELD-JONES LECTURE SERIES
                                           OCTOBER 10-12, 2005
                                  "Religion and Politics in the 2/~' Century"
                                          . Founders' Day Worship Sen'ice
Monday, December 10, 2005                                                 Banquet
                                                 ITC Chapel                                          Airport Marriott Hotel
Board of Trustee Meeting
                                                 11:00 am                                            C ollegc Park, Geoq,:ia
9:00 am - 4:00 pm
                                                 Alumni Luncheon                                     7:00 pm
Re- Dedication Sen-ice
                                                 Paschal's Res tau rant
Gammon H all-Everett Chapel                                                                          Wednesday. October 12 , 2005
                                                 1"orthside Drh·e
7:00 pm
                                                 12:30 r,1                                           II Thirkicld-Jone~ Lecture
Tuesd ay, October 11 2005                                                                            CamnHln ll all-f,errtt Chapl•l



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                                                                                                      J   1   ,11   I""
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                    Members of the Search Committee·on Evange_lism~


        Dr. J:emba Mafico, Area I   (770) 323-1552

        Dr. Mark Ellingsen, Area II (770) 732-1329

        Dr. Marsha Snulligan Haney, Area III (404) 286-6677

        Dr. Maisha Handy, Area IV (404) 766-3959

        Dr. Walter McKelvey, P·resident/Dean- Gammon Theo.logical Seminary
        (404) 581-0300
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                                                                         The Foundation for Evangelism

  LEADERSHIP DEVEL<)Pi\tENT

  E. STANLEY JONES PROFESSORS
                                                                     Through an endowment, The
                                                                     Foundation for Evangelism
                                                                     provides funding to support the
                                                                     E. Stanley Jones Professors of
                                                                     Evangelism whose purpose is to
                                                                     train pastors in the importance
                                                                     and the skills of helping persons
                        Rro. Mark Ttllsdalt                          experience God's transforming
                        Garntt-Ev!'_ngtlical Thtok,g,cal Scmitta,y
                   Evanston. IL                           ·          love through Jesus Christ.
          - - -- - Dr. Scoll n,omas JGslerr                          The Foundation supports
                   W~kv Thtoloaical Scm"'41,y                        13 professorships at United
                   Wasli'mg11>1t, DC
                                                                     Methodist-related seminaries and
                                                                     schools of theology around the
                                                                     globe. These professorships include
                                                                     10 positions in the United States,
                                                                     one in Germany (Reutlingen), one
                         Dr Srrgri Nilwlan,                          in Russia (Moscow) and one in
                         Russia Unilld Mtthodist Scmi"",y            Zimbabwe (Mutare).
                         Moscow, Russia
                             Tuman, NytlJtka
                                                                     The primary focus of these
                                        log,cal Scm,                 professorships is cl,assroom
                                                                     teaching for studetts in
                                                                     preparation for ministry in local
                                                                     churches.Mostofthisteaching
                         Dr F Do~ltis Powe Jr                        occurs in Master of Divinity
                         Saint Ptluf School of tht;,togy             degree programs with an
                         T<.nnStls C,1y M 0
                         Dr Bry'!" StOllt
                                                                     emphasis on forming ministers
                         Boston Umvrnity School of Thtolo§y          to enable growing congregations.
                         &mm. MA
                                                                     In addition, several institutions
                                                                     provide education at the doctoral
                                                                     level, with our E. Stanley Jones
                                                                     Professors of Evangelism
                                                                     providing leadership. The presence
                                                                     of these thirteen prof ssors
                                                                     results in an impa t on the lives of
                                                                     millions of persons.




                                                                         Ministries Brochure
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                                  INTERDENOM:INATIONAL THEOLOGICAL CENTER
                                 700 Martin Luther King Jr. Drive, SW• Atlanta, Georgia 30314-4143
                                             Phone: 404-527- 7702 • Fax : 404-527-7770




Office of the President

           July I, 2010




           Dr. Tumani Nyajeka
           5846 Cobalt Drive
           Powder Springs, GA 30 I 27

           Dear Dr . Nyajeka:

          I am pleased to notify you that the Board of Trustees has sponsored your employment to the Dorothye and
          Corne lius Henderson Chair and E . Stanley Jones Associate Professor of Eva ngelism , Missiology and
          Religions of the World for the 2010-2011 academic yea r. The Board voted a ·modest increase in salary
          which is included . This is a tenure tr.ick position. You will be compensated yo ur base salary in twelve
          equal parts in the aggregate amount of ~50,3 I 8.49. You will also receive $3,793.30, which is ITC's
          voluntary participation in yo ur self-employment tax. Thus, your total compensation for the 2010-20 I l
          academic year will be$54,l l l.79 .

          Fringe benefits at ITC include payments of up to 4% of your salary for pension in an ITC sponsored plan
          with the employee contributing up to 4%, 50% of the cost for ITC's sponsored major medical and dental
          coverage, group life insurance, and group short-term disabil ity. These paymen ts are made by ITC in
          addition to the other financial terms of this letter.

          The terms of yo ur position are governed by the policies and procedures set forth in the Faculty Handbook.
          All faculty members are expected to adhere to section 2.8 of the Faculty Handbook entitled "Faculty Duties
          and Responsibilities." Though not listed in the Faculty Handbook, all faculty members arc expected to
          attend the pre-school and post-school faculty council retreats. Grades must be submitted to the Regi strar' s
          office, as scheduled, during the academic year; if grades are not submitted as scheduled, payroll checks will
          be withheld. - if you have any questions or concerns regarding this letter of employment, you should con tact
          the vice president for academic services/provost Dr. Edward P. Wimberly .

          lf you have questions regarding Fringe benefits, you may contact the office of Human Resources . If not,
          please indicate your willingness to accept the terms of employment by affixing your signature below and
          returning three copies of this lener to the Office of Human Services on or before July 10, 2010 ..




         ~J,~~
          Thomas W. Cole, Jr ...
          President

                                                                                                                                     '   I




          C:
                    Dr. Edward P. Wimberly
                    Mrs. E. Littlejohn                CONSTITUENT SEMTNARIES
                      Hum8i(Ji-JMfu<MJ[~~ool of Religion• Gammon Theological Seminary • Turner Theological Seminary
                Phillips School of Theo logy • Johnson C. Sm ith Seminary • Charles H Mason Seminary • Lulheran Theological Cenler
                                                                         MEMBER
                            Association of Theological Schoo ls in JJ1e United Slate s and Canada• Un ired Negro College Fund
                                      Comm1rnon on Colleges or the Southern Associalion of Colleges and Schoo ls
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                                      INTERDE N OMINAT IONAL THEOLOGICAL CENTER
                                       700 Martin Luther King Jr., Drive, SW • Atlanta, G eorgia 30314-4143
                                                      404-527-7702 • FAX: 404-527-7770 .




    Office of the President
               June L\ , ?006



               Dr. Tumani Nyajeka
               5846 Cobalt Drive
               Powder Springs, GA 30127

               Dear Dr. Nyajeb ·

               I am pleuS\.:<l t:,, notify you 1l,.1 l die Buz.rj u£ Tr~:.;:,;,·,, 11;,i •; spon,orcct yom ~mpfoyn1e:ut tu l\J ;; Don..1thy~ ,rncl
               Cornelius Henderson Chair and I:,, Stanley Juoes Associate Professor of Evangelism, Missiology and
               Religions of the World for the 2006-2007 academic year. This is a tenure track position. Your base salary
               will be $47,430 .00. Yo u will also receive $3 ,592 .82, which is ITC's voluntary pa1ticipation in your self-
               employment tax . Thus, your total compensation for the 2006-2007 academic year will be $51 ,022 .82.

               Fringe Benefits at ITC include payments of 8% of your salary for pension in an ITC sponsored plan, 70%
               of the cost for ITC's sponsored major medical and dental covernge. group life insurance, and group short-
               term disability. These payn:ients are made by ITC in addi tion to the other fina ncial terms of this letter.

                The terms -0f your position are governed by the policies and procedures set forth in the Fa culty Handbook.
                All faculty me1,nbers :ire eXP.~ted to adhere to section 2.8 of the Fa culty Handbook, April 1998 entitled
                --Facnlty Duties and Responsibilities." Though not listed in the Faculty Handbook, all faculty members are
                expected to attend the pre-school and post-school faculty council retreats. Grades must be submitted to the
                Registrar' s office , as scheduled , during the academic year; if grades are not submitted as schedu led, payroll
                checks will be wnhhdd. If you have any questions or concerns regarding this letter of employmerit, you
                should contact the vice president for academic services/provost Dr. Edward P. Wm1berly.
I



                If you have questions regarding fringe benefits, you may contact the office of Human Resources . If not,
\               please indicate your willingness to accept the terms of employment by affixing your signature below and


I
                ret'llrning four copies of thi s letter to the Office of Human Servi ces on or before June 26 , 2006.

                With Best Regards.

               ~~#~
                Dr. Michael A. Battle.
                President




                C:     · . D.r. Michuel A. Battle
                           Dr.: Edward P. Wimberly
                           Mrs . E. Lit1lejolm
                           Ms . Janene Y. King

                                                                 CDNSTITUENf SEMIN ARIES
                       Gammon Theological Seminary • Curles H Mason Semirury • Morehouse School of Religion • ~hillips School of Theology
                                    Johnson C Smith Semin:uy • T umer Theological Seminary • Luther-..n Thcolog,cal Center
                                                                                  MEMBER
                             Association of Theolotical Schools in the Uniied States md C.W.da • Aiknu University Cente: • United Negro College Fund
                                                    Commission .on Colleges of the Sou1hem Association of Colleges ,nd Schools
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Tumani Nyajeka <tmnyajeka@yahoo.com>
   <-:joehopk.ins@pacbell.net
 Dec 11_ 2013 at 4:31 PM
 Mr. Hopkins,

Good Morning. I hope you found the following documents as faxed :
1. EEOC Charge of Discrimination. I called Mr. Aniukwe's office for us to secure the
'right to sue' document as they should have it.

2. A July 22, 2011 Letter to the ITC President, Dr. Peters, asking him to honor the one
year left of the second term three-year contract in my position of E. Stanley Jones Chair
of Evangelism. And also asking to continue teaching in my position of Associate
Professor of World Religions as I had held for 14 years at ITC.

Please note, the typos in the first paragraph of this letter just show that by July of 2011 ,
a traumatized and overwhelmed mind by July, 2011 .

3. Dr. Peters' April 21 , 2011, non-renewal of contract letter in agreement with Dean
Wimberly's unilateral January letter. My position as Chair is mentioned in passing. In my
sixteen years of teaching I have never been evaluated as under-performing/poorly
performing by peers or students. Dr. Peters and Dean Wimberly.made the decision to
disregard not only my peer and student evaluation file, which was of the highest level,
but they also chose to by-pass the ITC Faculty Handbook process of addressing.faculty
concerns .

Please note that Professor H. Welchel, Chair of the committee on Faculty Status Tenure
and Welfare, is not copied. And Dr. Carolyn Mccrary, Chair, Area Ill, was by-passed at
every point of this swift process. She was not invited to the March, 28, meeting
mentioned in the letter.(just another kangaroo court)

4. Dean Wimberly's January 14, 2011, non-renewal of contract letter which he send by
FedEx to my home.
The first concern : Dr. Carolyn Mccrary Chair of Area Ill, never sent a document
complaining about my work. My 'friend', Dr. Haney sent this letter in which she had
personally manufactured a list of 'concerns' with my work, out of the blue.

Dr. Haney's letter is dated January, 17th; three days after Dean Wimberly had already
expedited a non-renewal of contract letter.

Dr. Haney's letter shows as Ced to Dr. McCrary who vehemently denies ever having
received a copy or been consulted on this matter. Dr. Mccrary is the person who
confronted Dean Wimberly, and demanded to see the Foundation of Evangelism letter,
which he had refused to to give me a copy.

The letter from the Foundation did not state that my contract in the Chair should end in
June 30, 2011 as decided by Haney and Dean Wimberly.




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05 / 13/ 2011          13 4(7      "
                                                                                                 Page 1 o_f2



          Charles-DeAndre' Wright

          From:          "Rebecca Todd Peters" <rpeter$@elon.edu>
         To:             <tnysJeka@itc.edu>
         Stnt:           Monday, May 17, 2004 9:27 AM
         Attach:         shona.doe
         SubJect:        GreeHngs

     Dear Dr. Nyajeka,

     I am. Toddie ·Peters an.d I teach ethics at Elon Univeristy in North Carolina.

    I would first like thank you for your articfe "Shona Wom.en and the Mutupo
    Principle". I use it every semester in my Introduction to Religious Studies
    course as an illustration for students to see a religious cosmology at work
    and to help them.under.stand how theological beliefs impact a community's
    ethicii.

    I am also writing'you Wlth a question about the same article: ifu.ve useci
   it as an illu..ottration in my current book, but I wrote it as if the use of
   the Mutupo principle is still current practice among the Shona. AE I taught
   your article again this semester I realized that you were describing the
   Shona and their culture from 100 years ago. Because this illustration is so
   tmportant to the point I am trying to rnake, I was hoping you might read over
   the three pages I have attached and let me know if the way .t am discussing
   the Shona and the Mutupo pri.uciplc is accurate.

   The book project itself is aimed at offering a typology of globalization
   (neoliberal, development, earthist, and post-colonial) that helps reader~
   Wlderstand the complexities and differences present in different views and
   CX:pericnccs of globalization. The section I have attached descnbes the
   value of "community" as the context for moral agency within the postcolonial
   view of globalization.. The book manuscript won the 2003 Trinity Prize and
   will be published by Continuum this fall .

  I do hope that you will have the time to look over these few pages and
  respond.

  Many thanks in advance for your help and for your work,

  Toddie Peters

 Rebecca Todd Peters, Ph.D.
 Distinguished Emerging Scholar
 Assistant Professor of Religious Studies
 Elon. University
 2260 ClilTlpus Box
 100 Campus Drive
 Elon, NC 27244
 Email: rpeters@clon.c.:du
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                                                                                                                    1235 Fitlec:nth Street
                                                                                                                 Augu~ta . Georgi~ 3090i
                                                                                                                      Tel: 706.821.8210
                                                                                                                      Fax: 706.S2 I. 8333
         Paine College
         Office of the President




     August 15, 2006



     The Rev. Dr. Tumani Mutasa Nyajeka
     Cornelius and Dorothy Henderson Chair of Evangelism
     Stanley Jones Associate Professor of Evangelism
     Interdenominational Theological Center
     700 Martin Luther King, Jr. Dr. Atlanta, Georgia
     Atlanta, GA 30314

     Dear Dr. Nyajeka:

     Greetings. Congratulations on your outstanding presentation at the Women of Color
     Scholars meeting. You are a marvelous example of spiritual leadership.

     I look forward to inviting you to Paine College in the near future. You will be an
     inspiration to my students, my faculty -and me.

     Best wishes. I look forward to seeing you again soon.



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    / Shirle A. -R:-ieAs
/     President

      SARL:jdh




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 Elaine Jenkins

  From:      Elaine Jenkins
  Sent:      Wednesday, October 11 , 2006 10:01 AM
  To:        'tnyajeka@itc.edu'
  Subject: Autograph ing your new book...



 Greetings, Dr. Nyajeka. I hope that this brief post finds all well with you.

 I hope that I am not being preswnptuous---if I am, please forgive me and attribute it to my excitement
 about your book and the AU press publication of it---but I have placed in the mail to you two copies of
 your book for your autograph. One is for the AU development office; the other is for the donor whose
 gift made the AU press possible. We know that he will be well-pleased to see the fruit of his gift.

                                  .
 I have enclosed a return envelope for your convenience .

 Tinotenda-siyabonga kakulu!

 P,{aine Jenkjns
 Director of Planned Giving
 Africa University Development Office
 P. 0. Box 340007
 Nashville, TN 37203-0007
 Telephone: (615) 340-7428
 Fax            (615) 340-7290
 Email :        ejenkins@gbhem org

 This electronic message contains information from the Africa University Development Office which may be
 privileged or confidential. The information is intended to be for the use of the individual{s) or entity named
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 by telephone or e-mail (to the numbers or address above) immediately. Thank you




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ilungamwepu <dikonzomwepu@gmail.com>
To:tmnyajeka@yahoo.com
May 16 at I :38 PM

Greatings from your former student at AU in Zimbabwe, my name is Rev Master llungaMwepuDikonzo Edmond
I did Pastoral Care and Counseling and my subject was: An Investigation Into The Practice of Premarital
Counseling Among United Methodist Congregations in the Galilee District, Southern Congo Annua l Conference
Democratic Republic of Congo.
I was recommended by Bishop Mande Muyombo for Funded PhD Programme for African Methodist
Theological Educators, so in the application form they asked me to have an academic reference some one who
was my University Professor or my dissertation supervisor, reason why I have come to you and I have seen in
you sommebody with talent and able to countinue being my supervisor and my academic reference in this PhD
programme. The study will be A partnership between Africa University & Wesley House Cambridge.
Please Prof I hope in you as you know at AU there is nobody else who can do that on your behalf.
Waiting Forward,
I will also send you the subject and the outline once you confirm and I will need all your contacts as soon as
possible because the deadline is on 21st May 2018. I already finished everithing only your contact I was
missing, I got it today from Rev Bondo.
Soon.
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                                 PAUL W. CHILCOTE
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   Navnect S. Chugh•+                                                                             Santosh RcJJy Somi lleJJy-~
   Sherwood Tung"+                                                                                         Krishnakab Busani 11
   Kirti Kal.r:i•+                                                                                                  Jalpa Shah+
   Melissa Chan•+                                                                                                   Earth Shah+
   Navdeep Meamber"+                                                                                           Shaliqa Kurcshi+
   Diya A. Mathews*t'                                                                                   Vijay YeUarcddigari□~oo
   Vantlana P. Marath0°                                                                                     Kritika Hharadwajt
   Lihua Tan•t                                                                                                     Amit Patda
   Brinda Gandhi+                                                                                          Gurshaan Chattha+
   Jaymcn Chavdaa                                                                                           Rubeena Sachdev+
   Gladys Gcrvacio+                                                                                               Mis hi ta Jcthit
   Ycon Me Kim-oo                                                                                            Chetana Kaasamt
   Mohammad Khan+                                   CHUGH,LLP                                          Sismi Raju Menachcryt
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   February 27, 2017                           ~ v--V
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   Dr. Tumani S. M. Nyajeka
   616 Morehead Street
                                               ---- f>rtb{ n ~ rJ .4-o-l(}_ ~( fl V
   Eden, North Carolina 27288                    (w~          V\A,.._,~
   tnyajeka@yahoo.com                             ----b"1 ~ v ni_ .
   VIA EMAIL AND USPS

               RE: Legal fees

   Dear Dr. Nyajeka,

            Thank you for writing us about your concerns regarding legal fees pursuant to the Attorney-Client
   Fee Agreement signed in July of2015 (the "Agreement"). In the Agreement, you agreed to pay our firm
   an initial retainer of Two Thousand Five Hundred Dollars ($2,500.00). Under the terms of the Agreement,
   "this retainer is non-refundable, and deemed earned when received." The intent of a retainer is to ensure
   payment for future service or work to be rendered.

            Upon review, Nicholas Salazar, the attorney assigned to your case, expended over 50 hours
   investigating your case. At Mr. Salazar's hourly rate, these services amount to over $11,000 in legal fees .
   While the legal fees quickly exceeded the retainer of $2,500, Mr. Salazar continued to pursue yci...r r.>1.<:e,
 , gathering facts and evidence, and providing regular updates. it was only at tlw conclusion of these hours
   that it was determined that we were unable to pursue your claims further.

          As such, during our hone call which tem1inated our attome - ·                I provided
   reference(s) local to your home m en. We would be happy to provide another reference if you wish.
   Thank you again for allowing Chugh, LLP to represent you. We wish you the best moving forward.



   <~~
   Amit Patel




8800 ROSWELL ROAD, BUILDING C, SUITE 230, ATLANTA GA 30350 TELEPHONE: 770.270.1860   FACSIMILE: 770.270.6460 WWW .CH UGH.COM
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                                   ATTORNEY-CLIENT FEE AGREEMENT

       This ATTORNEY-CLIENT FEE AGREEMENT ("Agreement") is the written fee
contract that Georgia law requires lawyers to have with their clients, and is entered into by and
between TUMA NT NY AJEKA ("Client(s)" ; "you"; or "your" ) and CHUGH LLP,
("Attorneys'' ; "us"; nour" or "we").

I.          CONDITIONS: Provision of legal services and compensation thereof will be governed
by this Agreement. Services will incl ude litigation-in court, administrative hearings, before
government agencies, arbitration tribunals, or mediation. ft will also include discussions and
conferences with you and other parties.
        This Agreement will not be effective, and we will have no obligation to provide legal
services, until a signed copy of this Agreement and initial retainer deposit as stated in Paragraph
4 below are received.
        This Agreement will take effect when you have performed the conditions of this
Paragraph, but its effective date will be retroactive to the day Attorneys first provided legal
services. The above date is for reference only. Even if th is Agreement is not effective, you are
obligated to pay us the reasonable value of any services we may have performed for you.

2.          SCOPE AND DUTIES: You are hiring us as your attorneys to provide legal serv ices in
connection with general legal services in regards to the termination of your previous employment
at Gammon Theological Seminary. We will provide services reasonabl y required to represent
you. We shall take steps to keep you informed of the progress and respond to your inquiries.
         Our services DO NOT include an appeal of this case, should we not be successful 111
litigation. Furthermore, our services DO NOT include legal services or advice on any other
matter other than the tem1ination of your previous employment at Gammon Theological
Seminary
         If any fresh unrel::ited matter comes up, and 1f mutually ac-:eptabk to bnth yo I and all
other Attorneys, the terms of this Agreement may be applied to such new matter, otherwise a
fresh agreement will be required.
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have to recover our fees through arbitral 1on, medi ation and/or through court , then all such "nn
charge " entries anJ discuunts shall stand reversed and claimed through such procn:drngs Should
1t be necessary to institute collect1011 proceedings, you will be n:sponsible tor attome:(s fees in
the amount or 15% ol"the outstanding balance at the time rroceedings are instituti:d

        8.      D ISCHARGE, WITHDRAWAL, TERMINATION OH. CONCLUSION OF
CASE:
        You may discharge us at any tJme . We may also withdra\v with your consent or for
'·good cause" . "Good cause" includes your breach of this Agreement, your refusal to cooperate
with us or to follow our advice on a material matter or any other fact or circumstance that would
render our continuing representation unlawful or unethical. We reserve the right to terminate the
Attorney-Client relationship, to the extent permitted by law, in the event that our invo ic e is not
paid .
        If on discharge/withdrawal you require a copy of the proceedings up to that date , you w1l I
be charged $0 .35 per page and any other charges for the making and suppl yi ng the same
        When At1orneys' services conclude, all unpaid charges shall become immediately due
and payable Attorneys will , upon your spec1f1c request, deliver the file(s) to yo u along ,v1th
your funds or property, if any, rn Atlornevs' possession In case you do not request and collect
the case files after the case has laminated, Attorneys shall destroy any such files after three (3)
years from the date or cone lusion or term inat1on of the case

9.      LIEN You hereby grant us a continuing lien on any and all claims or causes ot'actrL)ll
that are the subject of our representation under this Agreement Our lien will be for any sums
owing to us at the conclusion of our legal services The lien will attach to any recovery yo u muy
obtain, whether by arbitration awarJ, judgment, settlement or otherwise, mcluding if the sume
arc obtained even after the services or the Attorneys have been terminated or Attorneys have
withdrawn lor --good cause" and the amounts arc still outstanding to be raid to Attorneys

10.     COLLECTIO!'I OF AMOUNTS Dl!E TO CLIENT(S) FROM OPPOSING PARTY:
         All amounts collected , through settlement, award . judgment or otherwise. will he:
collected by us and deposited in CHUGH LLP Trust Account. We wtll pay you after (kducting
the Attorneys' fee and all outstanding costs and expenses under Paragraphs 5 and 6 above . Under
this right oC Iien, you authorize Attorneys to retam/withdraw any outstanding fees , costs and
e'<pen,;es from any money received by us throu gh above means

11.     D ISCLAli\-lER OF GUARANTEE: Wbrle we will strive and do our utmost to serve
and represent your interests professionally, efficiently and effecuvely, hut we cannot guarantee
the success of any matter Therefore, nothmg 1n thrs Agreement or in our discussions with you
will be construed as a promise or guarantee about the outcome of 1our matter, because Attorneys
make no such promises or guarantees Such comments , if'any, are only expressio ns of orin1on

12.      ENT JR E AGREEMENT AND BINDING EFFECT: Thi s /\grern1ent contams the
final und entire understanding and c1greemcnt of Client(s) and the Attorneys There arc no
representat io ns, statements , promises, terms, conditions, ornl or written , other than those set forth
in this Agreement or in any written amendment or modification of this Agreement in v,riting and
signed by the parties This Agreement shall be hinding upon Client(s) and the Attmneys anJ
the ir respective heirs, personal representatives, successors , and assigns ft shall be in terpreted



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           Case 1:20-cv-04434-TWT Document 1-1 Filed 10/30/20 Page 56 of 64




under the laws of the State of Georgia and shall be enforceable in the courts of Georgia having
jurisdiction.

13.     ARBITRATION OF FEE DISPllTES: Attorneys and you agree that in case of any fee
dispute, including any costs and expenses, the parties shall arbitrate the matter under the
provisions of Georgia law.


        fN WITNESS WHEREOF, Client(s} and the Attorneys have executed thts Agreement
as of the date given against their signatures below, and Client(s) hereby acknowledges receipt of
a copy thereof


CHUGH LLP




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       AGREED AND ACCEPTED this               ·-~-           day of _ __    -~·· _ __ _   ,20 15 .
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Nicholas Salazar 11 1l :h , 1): 1c; "Jl;:var·11chu gh.v ), n ·
   tmnyajeka@yahoo.com
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Frid ay at 11 :30am is perfect. l will put it down on my calendar. I am currently reviewing your latest
doc uments right now . Thank you for sending those over!




Nicho las Salazar, MHA I Attorney at Law


Chugh, LLP


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Dr. Edward L. Wheeler
President
Interden ominati onal Theological Se111i11ary
700 Martin Luther King Jr. Drive
At la11ta. GA 3Qf 14                                           11
                 SEXUAL ASSAULT. HARASSMENT. WORK PLACE INJURY. AND
          RE:   WRO 1GFUL TERMINATI0 1 OF DR. TUMA I NYAJEKA'S EMPLOYME NT
                W IT H THE L TERDE O!YONATIONAL THEOLOGICAL SEMINARY

Dear l)r. Wht.:ekr,

          This office rerrcscnts Dr. Tumani Muta. a 'yajeka \\·ith rt.:gards to her wrongful tcnnination from
tht.: lnterJenominational Theol ogica l Center (.. ITC '") on June JO.2011 . The puqmsc o r thi s letter is tn
demand that ITC compt.:nsate Dr. Tumani Mutasa Nyajcka (.. Dr. Nyajcka .. ) lo r all remaining
t.:ompc nsa tion and unraid benefits (1\\C d to ht.:r under her emplny menL co11tract, and all othc 1· daniagc s
suffrn:d by Dr. Nyajda \Vhich resulted from rn "'s \\'ron gful tennination of her employmrnt contract. In
~uprort of the above, Dr. Nynjcka sho\\'s the fol Im, ing:

            I.                    STATEME T OF FACTS

         Dr. Nyajeka is originall y from the Afri can nation o f Limbabwc and is a highly educated, qualilied ,
and d i~tinguishcd rro fc sso r havin g publi shed num erous articles on African thcologicnl principle~. as \\ell
as having presented numerous speeches and pre <;e ntations on matters or.theology and culture. Dr.
Nyajeka ohtaincd a Bachelor or Arts from Birmingham-S outhern College. a Master o l' Di\'inity from
Duke Divi nity Schoo l, a Master in Theology from Gurrett-Evangelical Theo log ical Sem inary, and a
Doc tt)r of Phil oso phy inf listory of Religions from Northwestern Uni , crs ity. Furthermore. Or. N1 ajeka i~
an ordained minister in the United Methodi st Church. Because ur her hi gh credential s. ITC hired Dr.
N~a,id,a 0 11 .lu!) I. 1997 n~ an as~istant prnrc <;c;o r of lissiu ln~y and Rcligi t' ll '- of the World.

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African traditi onal reli gion:-, and indi~en tn1, churches . ,b ,,ell as th e the ll lOc!Y and pracLice n!' Ch ri-;1ia11
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mi ss io ns. Such courses included African Christianity, African Religion, African and Middle Eastern
Religions, Philosophy and Practice of Traditional African Reli gio ns , Ministry and Context, and
Congregational Evangelism.

        As a result of her expertise and high caliber as a professo r at ITC, on June 13 , 2006, Dr. Nyajeka
was elevated to the Dorothye and Cornelius Henderson Chair and E. Stanley Jones Associate Professor of
Evangelism, Mis siology, and Religi ons of the World 1 (see Exhibit A: Letter from Office of the President).
This letter specifically stated that " [t]he terms of your positi on are governed by the policies and
procedures set forth in the Faculty Handbook ." Therefore, a contractual agreement was created between
ITC and Dr. Nyajeka and the terms of her empl oyment were governed by the Faculty Handbook .

        Dr. Nyajeka 's base salary for both positions of the Chair and the Professorship for the 2006-2007
academic year was only Forty Six Thousand Five Hundred Dollars ($46,500.00) (see Exhibit A).
Furthermore, Dr. Nyajeka's fringe benefits included payments of E ight Percent (8%) of her salary for
pension in an ITC sponsored plan, Seventy Percent (70%) of the cost for ITC's sponsored major medical
and dental coverage, group life insurance, and group short-term disability (see Exh ibit A). However,
during th e entirety of her pos itio n as C hair and E . Stanley Jones Professor, ITC wrongly and egregiously
denied Dr. Nyajeka pensi on payments from 1997 through 2006. Furthermore, the base sa lary for a
similarly qualified male in an endowed Chair or similar position at ITC during the years of 2005 through
2012 was E ighty Five Thousand Dollars ($85,000 .00) per year and not a mere Forty Six Thousand Five
Hundred Dollars ($46 ,500.00) per year. In addition to the duties and re sponsibilities of being a C hair and
an E. Stanley Jones Professo r, Dr. Nyajeka continued in her role as Associate Professo r of Missiology and
World Reli gions . Notwithstanding her qualificati ons, academic accomplishments, and additional duties
and responsibilities, Dr. Nyajeka's sa lary remained virtually unchanged throu gh the rest of her time at
ITC as she was continually denied salary negotiations and salary adjustments, resulting in JTC's violation
of the Federal E qual Pay Act. Furthermore, Dr. Nyajeka was denied retirement benefits from 1997
through 2006 . For three (3) years, Dr. Nyajeka was also denied a key to her ow n office at ITC, was
denied computer equipment for her offi ce, denied office heat ing and air conditioning, and the interi or of
the office remained in a permanent state of di sre pair. Such denial of prop e r office conditions and deni al
of access to basic office and computer equipment was a direct violation of Secti on 2.14 of the faculty
Hand book.

        On January 14, 20 11 , JTC ' s then Dean, Dr. E. P. Wimberly, sent Dr. Nyajeka a letter statin g that
ITC would not renew her teachin g contract fo r the following two reaso ns : I) the Foundation was not
continuing to fund the Chair, and 2) Dean Wimberly bad received "a letter o f concern with lDr.
Nyajeka's] work from Area Ill. " I Iowever, Dean Wimberly 's letter was extremely vague and provid ed no
proof of any alleged "concem[s]" with any of Dr. Nyajeka's work. Furthermore, Dr. yajeka was never
made aware of any such reports of alleged "concern" by any of ITC's administrators or supervisors.
Then, in a letter dated J\pril 21, 20 11 , JTC's President reaffirmed to Dr. Nyajeka the contents of Dean
Wimberly 's January 14, 20 11 letter an d reiterated that ITC would not overturn its decisi o n in regard s to
the no n-renewa l o f Dr. 1yajeka 's teaching contract. The April 2 1, 20 I 1 letter also informed Dr. Nyajeka
that ITC co ns idered the matter closed. Although Dr. Nyajeka's contract was not set to expire until June of
20 12, Dr. Nyajeka's employment at ITC was instead termin ated on June 30, 20 1 I. However, Dr. Nyajeka

1
  The E. Stanley Jo nes Professo rshi p was rene wab le every three (3) years . Dr. Nyajeka's Professors hi p was renewed in June o f
2009, and therefore was eligibl e for renewal once again in Ju ne of2012 .




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was never allowed to defend herself against ITC's wrongful termination as she was denied any and all
appeals and denied relief under ITC's grievance process, as required by ITC's Faculty Handbook.

   II.       ITC SIMULTANEOUSLY VIOLATED SACS STANDARDS FOR THE RETENTION
             OF QUALIFIED FACULTY MEMBERS AND ITS OWN SEVERANCE POLICIES
             WHEN IT WRONGFULLY AND ARBITRARILY TERMINATED DR. NYAJEKA 'S
             EMPLOYMENT ATITC

        ITC's actions with regards to the January 14, 201 1 letter and the termination of Dr. Nyajeka on
June 30,.2011 violated the Southern Association of Colleges and Schools ("SACS") Standards section
3.7.l., which states as follows:

          "The institution employs competent faculty members qualified to accomplish the mission
         and goals of the institution. When determining acceptable qualifications of its faculty, an
         institution gives primary consideration to the highest earned degree in the discipline. The
         institution also considers competence, effectiveness, and capacity, including, as
         appropriate, undergraduate and graduate degrees, related work experiences in the field,
         professional licensure and certifications, honors and awards, continuous documented
         excellence in teaching, or other demonstrated competencies and achievements that
         contribute to effective teaching and student learning outcomes. "

        As previously demonstrated, because of her high pedigree of education, publications, and
professionalism, Dr. Nyajeka was the most qualified and competent individual for the positions of the
Dorothye and Cornelius Henderson Chair and E. Stanley Jones Associate Professor of Evangelism,
Missiology, and Religions of the World. In fact, Dr. Nyajeka was so qualified that she endured several
independent committee searches from 1999 to 2006 during which she was consistently chosen as the most
qualified individual for these positions. However, Dr. Nyajeka's promotion and appointment to the
position of Chair was the cause of great resentment against her by her peers. As a result, during a
monthly Area III meeting in September of 2010, Dr. Marsha Haney read aloud a piece of paper outlining
"concerns" with Dr. Nyajeka's work. However, Dr. Nyajeka had never been openly attacked in the form
of a public evaluation, much less during a monthly Area meeting. Dr. Haney and Dr. Rasor both began
screaming at Dr. Nyajeka demanding that she "step down from the Chair and get back to [her] regular
teaching position!" When Dr. Nyajeka was asked to comment, she stated that she would respond in
writing through a letter addressed to everyone in the Area. As such, Dr. Nyajeka wrote a response letter
to Dr. Haney dated October 18, 20 10, and every Area III member received a copy of this letter ( see
Exhibit B: Response Letter to Dr. Marsha Haney). In her letter to Dr. Haney, Dr. Nyajeka pointed out
that she and Dr. Haney were the only two people in the Department of Missiology and Religion. As such,
Dr. Nyajeka asked Dr. Haney why she did not discuss her concerns directly with Dr. Nyajeka prior to the
monthly Area meeting. Dr. Nyajeka then described and elaborated on the hostility and abuse to which she
had been subjected while at ITC. On October 25, 2010, Dr. McCrary, Area III Chair, convened an Area
emergency meeting to respond to Dr. Nyajeka's letter. Dr. McCrary then apologized to Dr. Nyajeka on
behalf of Area III and it was agreed that the matter was thus resolved.

         Notwithstanding the fact that the September 20 IO matter had been resolved, Dr. Haney wrote a
letter to Dean Wimberly, dated January 17, 2011, where Dr. Haney outlined manufactured "concerns"




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with regards to Dr. Nyajeka's work and competence. The content of this letter was similar to the
document Dr. Haney read aloud at the September Area meeting. However, since Dean Wimberly's letter
was from January 14, 2011, it is obvious that he never received any letter of "concern," as referenced in
his letter to Dr. Nyajeka, prior to writing his letter. However, Area III Chair Dr. McCrary confronted
Dean Wimberly to make him admit that no such letter ever came from Area III. Unfortunately, Dr.
McCrary was ignored. Furthermore, no one ever contacted Dr. Nyajeka or the Area III Chair, Dr.
McCrary, regarding the foundation funding coming to an end. Yet despite ITC's own blatant
inconsistencies, Dr. Nyajeka was wrongfully terminated out of manufactured and false "concerns."

        Section 2.17(8)(2) of the Faculty Handbook enumerates eight (8) specific reasons for termination,
and "concern" is not listed within this subsection. Rather, a faculty's termination and non-renewal may
be based on "professional incompetence" but not "concern," which is a vague and unrecognized basis for
termination and non-renewal. During the entirety of her position as Chair and E. Stanley Jones Professor,
Dr. Nyajeka received no warnings in regards to her performance and no notices of any ethical violations.
Furthermore, Dr. Nyajeka received no letters or calls from the Dean, Area Chairs, or the Committee of
Faculty Status, Tenure and Welfare. Dr. Nyajeka's student and peer evaluations were continuously
positive and reflected the overall satisfaction with and admiration for Dr. Nyajeka's competence and
expertise as a professor at ITC. Furthermore, Dr. Nyajeka' s Faculty Evaluation from 2010 was recorded
as 'Excellent.' In addition, throughout her time at ITC, Dr. Nyajeka was subjected to three (3) clandestine
and unexpected "site visits" from male coordinators from the Foundation of Evangelism. Even after these
surprise visits, Dr. Nyajeka never received negative feedback or negative reviews, as the coordinators
themselves never expressed nor communicated any "concern" whatsoever regarding Dr. Nyajeka's
competence in the fulfillment of her duties. If Dr. Nyajeka's professional competence was ever in
question, ITC should have followed the requirements of Section 2.17 of the Facu~ty Handbook. However,
Dr. Nyajeka received no negative feedback. Knowing this, ITC instead relied on false hearsay
information in order to conclude that Dr. Nyajeka's work caused "concern" and thus she was not fit to
remain at ITC. Dr. Nyajeka was ultimately terminated on June 30, 2011 simply out of a manufactured
and false "concern with [her] work." Furthermore, ITC deliberately and spitefully circumvented its own
policies and procedures through the way it terminated Dr. Nyajeka's employment.

        Pursuant to Section 2. 17(D)-(H) of the Faculty Handbook, the Dean of ITC does not have the
authority to terminate, decide to not renew, or otherwise remove the faculty member from his or her
position(s). Rather, the Provost is required to receive all complaints against the faculty member, and then
confer with the President of ITC. The President would then be required to commence formal proceedings
against the faculty member, and the President, along with the Committee, would prepare a report of its
findings and recommendation to send to the Board of Trustees. The Board of Trustees would then make
the final decision based on this report. Therefore, the Board of Trustees, and not the Dean, is the only
body that has all final decision making authority for termination based upon reports and recommendations
submitted to it by the President and the Committee. However, the January 14, 2011 non-renewal letter
was merely a disguised and veiled pretextual attempt to circumvent ITC's own Severance Policies by
deliberately basing the termination of Dr. Nyajeka's employment on a false and manufactured "concern
for [her] work from Area III" knowing that there were no valid grounds for Dr. Nyajeka's termination.
Notwithstanding its obligations towards Dr. Nyajeka, ITC provided her with no due process under the
Faculty Handbook and instead egregiously and unilaterally terminated Dr. Nyajeka's employment with




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       ITC through the arbitrary and capricious decision made by Dean Wimberly, rather than the by the Board
       of Trustees, as required under ITC's own Severance Policies.

               Ultimately, Dr. Nyajeka was dismissed from her duties on June 30, 2011 based upon the January
       14, 2011 letter from Dean Wimberly, which itself was based on false hearsay information in order to
       conclude that Dr. Nyajeka's work caused "concern" and thus she was not fit to remain at ITC. Dean
       Wimberly's letter was a willful, deliberate, and gross circumvention ofITC's own severance policies.
       Furthermore, ITC violated SACS Standards by terminating the most qualified person for the Dorothye
       and Cornelius Henderson Chair and E. Stanley Jones Associate Professor of Evangelism, Missiology, and
       Religions of the World positions. However, the only "concern" should have been that ITC deliberately
       failed to abide by its own governance policies and therefore violated SACS Standard 3.7.l., and Section
       2 .17 of the F acuity Handbook.

           ID.      ITC NEGLECTED ITS OBLIGATION TO DR. NYAJEK.A WHEN IT FAILED
                    PROVIDE AN ENVIRONMENT FREE OF HARASSMENT AND DISCRIMINATION

                 Section 3.6 of the Faculty Handbook states as follows:

                 "It is the policy and responsibility ofITC, as an Institution preparing women and men for
                 leadership roles in the church, to establish an environment of trust in which the dignity
                 and worth of all members of the institutional community are respected Therefore, ITC
                 will not condone or disregard incidents of harassment on the basis of sex, sexual
                 orientation, race, national origin, or other immutable characteristics. "

                ITC's policy of non-harassment spans through Sections 3.7, 3.8, and 3.9 of the Faculty Handbook.
       However, Dr. Nyajeka was routinely harassed and bullied by colleagues both verbally and physically. As
       an initial form of harassment, Dr. Nyajeka was sexually harassed by one of her colleagues, Dr. Temba
       Mafico, for the vast majority of her time at ITC, during which Dr. Mafico would pin Dr. Nyajeka in his
       office and would not let her leave. Furthermore, these same colleagues routinely harassed Dr. Nyajeka
       about her immigrant status and expressed hostility towards her immigrant status by saying things such as
       "you are not wanted here! ... Black Americans do not like Africans! ;" "go back to Africa, stop running
       away from your people, and don't come here to compete against Black Americans! ;" "you are lucky to
       even have a job in this economy!"; and "are you here just to get your green card through ITC?"
       Furthermore, Dr. Nyajeka received many threats of deportation over the phone from people who were not
       even immigration officers. Dr. Nyajeka' s immigration process should have only taken three (3) months to
       complete, yet it took nine (9) years while at ITC. Furthermore, during the entirety of these nine (9) years,
       Dr. Nyajeka was constantly subjected to personal threats, interrogations, isolation, ridicule, and abusive
       language. Despite the continual harassment and the continuous interrogations about her immigration
       status, Dr. Nyajeka was denied the right to hire her own immigration attorney. ITC treated Dr. Nyajeka as
       if the fact that she was foreigner did not entitle her to the protections ofITC's standards, procedures, and
       overall due process . As a result, these continued attacks against Dr. Nyajeka have devastated her health
       and emotional well-being.

                 ITC's actions violated the Association of Theological Schools ("ATS") Standard 8.1.2, which
       states:




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       "Theological schools should support the quality of community through such means as
       policies regarding procedural fairness, discrimination, and sexual harassment. "

       Section 3.1 l(A) of the Faculty Handbook states as follows:

       "ITC 's internal procedures are intended to address, promptly and fairly, concerns and
       complaints about harassment at this Institution. All complaints will be handled without
       delay as undue delay may seriously hinder this Institution 's ability to promptly review
       and investigate such allegations. All complaints are considered confidential and will be
       handled as such. "

        Sections 3.12 and 3.13 of the Faculty Handbook specifically outline the steps and procedures for
an informal complaint process and formal complaint process, respectively. Dr. Nyajeka complained about
her discrimination and hostility on more than ten (10) occasions. Dr. Nyajeka pleaded with Dean
Wimberly to address the abuse to which she was constantly subjected. However, Dean Wimberly's only
response was for Dr. Nyajeka to "try and go out of [her] way to be 'nice."' Furthermore, Dr. Nyajeka also
complained about her sexual harassment on at least eight (8) occasions. Dr. Nyajeka pleaded with Dr.
Haney, Chair of Area III, to make Dr. Mafico stop sexually harassing Dr. Nyajeka. However, Dr.
Nyajeka's complaints of sexual harassment quickly served to undermine her efforts for promotion and
professional development at the hands of Dr. Haney and Dr. Mafico. Dr. Nyajeka made further
complaints to Dean Wimberly, Dr. Battle, Dr. Grant, Dr. McCrary, Dr. McHelvey, Bishop Norris, Dr.
Jacobs, and ITC President Dr. Peters. In October of 2010, Dr. Nyajeka wrote a letter to Area III where
she complained about Dr. Haney's and Dr. Razor's unprovoked verbal assault that took place during the
regular beginning-of-semester Area meeting in September of 2010. In this letter, Dr. Nyajeka also
documented a detailed account of her experiences of abuse, hostility, discrimination, and harassment.

         Dr. Nyajeka also wrote a letter to ITC President Dr. Peters in response to his letter from April 21,
2011 through which Dr. Nyajeka provided a detailed account of all of her experiences of abuse and
discrimination leading up to the January 14, 2011 letter from Dean Wimberly. After much unnecessary
delay and avoidance on behalf of ITC, Dr. Peters finally invited Dr. Nyajeka to meet with him. At this
meeting, Dr. Peters stated that he believed all of Dr. Nyajeka's claims and asked Dr. Nyajeka to submit
her curriculum vitae so that the school can "rehire [her]." Yet despite the continued harassment,
discrimination, and hostility, ITC continually turned a blind eye and deaf ear to all of Dr. Nyajeka's
complaints. Furthermore, Dr. Nyajeka's complaints and requests to speak with ITC's President regarding
her concerns were continually hampered and ignored. As a result, the hostile and subversive environment
persisted against Dr. Nyajeka through which she suffered constant anxiety and stress. Furthermore, as a
result of all of the continued hostility, discrimination, and harassment, Dr. Nyajeka suffered and continues
to suffer from work-related depression, work-related post traumatic disorder, and in 2014, Dr. Nyajeka
suffered a psychotic episode which caused her to collapse, after which she remained in a four (4 )-day
coma. Notwithstanding ITC's deliberate violations, and notwithstanding the emotional and psychological
toll, Dr. Nyajeka was terminated out of a false and manufactured "concern" for her work. However, if at
any point during her time at ITC Dr. Nyajeka's performance was less than stellar, it was only because of
the hostile environment in which she was forced to perform. Therefore, ITC's willful contempt for Dr.




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Nyajeka's safety and well-being was a direct violation of Sections 3.6, 3.7, 3.8, 3.9, 3. 11, 3.12, and 3.13
of the Facuity Handbook, as well as A TS Standard 8. I .2.

   IV.      ITC 'S WILFUL ACTIONS DEPRIVED DR. NY AJEKA OF HER ACADEMIC
            FREEDOM AND PROFESSIONAL DEVELOPMENT

         SACS Standard 3.7.4 states:

        "The institution ensures adequate procedures for safeguarding and protecting academic freedom.
The essential role of institutions of higher education is the pursuit and dissemination of knowledge.
Academic freedom respects the dignity and rights ofothers while fostering intellectual freedom offaculty
to teach, research, and publish. "

        Dr. Nyajeka fulfilled her many daily duties and responsibilities as Chair and E. Stanley Jones
Professor despite having to constantly endure a stressful, hostile, and discriminatory environment.
However, despite her unmerited difficulties, Dr. Nyajeka remained positive and hopeful that her work
would inspire within her students the same strong and relentless passion for missions that Dr. Nyajeka
held while at ITC. As stated previously, for three (3) years, Dr. Nyajeka was denied a key to her own
office at ITC, was denied computer equipment for her office, and the interior of the office remained in a
permanent state of disrepair as it was supposedly being "remodeled."

        For three (3) years, Dr. Nyajeka complained to security office Captain Terry and to Ms. Littlejohn
about not having a key to her own office, and urgently wrote to Ms. Littlejohn on at least two separate
occasions asking for a key. However, Ms. Littlejohn refused to comply with all requests and demanded
that the requests be done in writing, notwithstanding the fact that Dr. Nyajeka had in fact made at least
two (2) previous written requests to Ms. Littlejohn. Yet Ms. Littlejohn completely ignored all of Dr.
Nyajeka's written requests and refused to provide her with access to her own office. Furthermore, during
Dr. Nyajeka's entire fourteen (14) years at ITC, all of her express and written requests were ignored with
regards to having heat in her office during winters, air conditioning during summers, replacement of old
and broken furniture, and access to computer equipment. Dr. Nyajeka was never provided with a laptop
until Dr. Battle came on board at ITC. However, even when ITC finally did provide Dr. Nyajeka with a
laptop, ITC gave her the oldest laptop at the entire school. Then, in July of 2010, ITC spitefully and
unexpectedly removed the laptop from Dr. Nyajeka' s office and never returned it to Dr. Nyajeka. Dr.
Nyajeka contacted the IT manager and asked him to allow her to retrieve her work documents from the
laptop. However, the IT manager refused Dr. Nyajeka's request without any explanation. Unfortunately,
all of Dr. Nyajeka's previous written requests with regards to proper office access, equipment, and office
heating and air conditioning, written complaints of harassment and discrimination, and other pieces of
evidence to support her claims against ITC were lost as a result of ITC removing the laptop and
stubbornly refusing to allow Dr. Nyajeka to retrieve all of these documents.

       ITC' s actions also deprived Dr. Nyajeka of pursuing continued professional development. ATS
Standard 5.4.2 states:

         "Schools shall provide structured opportunities for faculty research and intellectual
         growth, such as regular research leaves andfaculty colloquia. "




                                                 Page 7 of 11
                   Case 1:21-cv-02664-SCJ-CMS Document 1 Filed 07/01/21 Page 75 of 76
                            Case 1:20-cv-04434-TWT Document 1-2 Filed 10/3IDWIT JP~~e2140f2400sx
 JS44 (Rev. 6/2017 NDGA)                                                  CIVIL COVER SHEET
 The JS44 ciril cover sheet and the information contained herein neither replace nor supplement the lilini: and service of pleadings or other papers as required by law, except as provided by
 low rules or court. This form is required for the use or the Oerk of Court for the purpose of initiating the civil doclrd record. (SEE INSTRUCTIONS ATIACHED)


 I. (a) PLAINTIFF(S)                                                                              DEFENDANT(S)




                                                                                                               1 :20-CV-4434
    (b)   COUNfY OF RESIDENCE OF FIRST LISTED                                                    COUNTY OF RESIDENCE OF FIRST LISTED
          PLAINTIFF_ _ _ _ _ _ _ _ _ __                                                          DEFENDANT_ _ _ _ _ _ _ _ _ __
                            (EXCEPT IN U.S. PLAINl'IFF CASES)                                                      (lN U.S. PLAlmlFJi' CASES ONLY)

                                                                                                  NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OFTHE TRACT OF LAND
                                                                                                  INVOLVED

   (c) ATTORNEYS (FIRMNAME,ADDR~n:LEPHONENUMBER.AND                                               ATTORNEYS                   (IFKNOWN)
                                    It-MAIL ADDRESS)




 II. BASIS OF JURISDICTION                                                     III. CITIZENSHIP OF PRINCIPAL PARTIES
       (PLACE AN "X" IN ONE BOX ONLY)                                                 (PLACE AN "X" IN ONE BOX FOR PLAINTI.Fl1 AND ONE BOX FOR DEFENDAN'll
                                                                                                         (FOR DIVERSITY CASES ONLY)

                                                                               PLF      DEF                                   PLF     DEF

 0 1 U.S. GOVERNMEl'IT
     PLAINTIFF
                             D J FEDERAL QUESTION
                                 (U.S. GOVERNMENT NOT A PARTY)
                                                                             01       0 1 OTIZENOFlHISSTATE                □. □.             INCORPORATED OR PRINCIPAL
                                                                                                                                             PLACE OF BUSINESS IN TIUS STATE

 0 2 U.S. GOVERNMENT         □4 DIVERSITY                                    D2       D2      CITIZEN OF ANOTIIEJl STATED 5          Ds      INCORPORATED AND PRINCIPAL
     DEFENDANT                     (INDICATE CIDZENSHIP OF PARTIES                                                                           PLACE OF BUSINESS IN ANOlHER STATE
                                    IN ITEM IJI)
                                                                             DJ       DJ CITIZEN OR SUBJltCT OF A          06        06      FOREIGN NATION
                                                                                         FOREIGN COUNTRY


 IV. 0 RI GIN           {PLACE AN -x "IN ONE BOX ONLY)
   □                    □                                                  □                        □ 1llANSFERRED FROM □ MULTIDISTRJCT □ APPEAL TO DISl'RICT IUDGE
       !ORIGINAL            2 REMOVED FROM       D   Jlli:MANDEDFROM           4REINSTATEDOR           SANO'IHERDISTRICT             6LITIGATION •          7 FROMMAGISTRATEIUDGE
        PROCEEDING            STATE COURT             APPELLATE COURT           REOPENED                  (Sp..;ryDutrid)             1llANSFER               JUDGMENT


  □ MULTIDISTRICT
      8 LITIGATION ·
       DIRECTFILE


 V. CAUSE OF ACTION                        (CITE THE U.S. CIVILSTAlUJ'E UNDER WHICH xou ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE - DO NOT CITE
                                          JURISDICOONALSTATUT:ES UNLESS DIVERSITY}




(IF COMPLEX, CHECK REASON BELOW)

   D 1.     Unusually large number of parties.                                  D 6. Problems locating or preserving evidence
   D 2. Unusually large number of claims or defenses.                           D 7.     Pending parallel investigations or actions by government.
   D 3. Factual issues are exceptionally complex                                D 8.     Multiple use of experts.
   D 4. Greater than normal volume of evidence.                                 D 9. Need for discovery outside United States boundaries.
   D5. Extended discovery period is needed.                                     Do. Existence of highly technical issues and proof.

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                                    AMOUNT }._ _ _ _ _ __                               't.YlN(J lfl' _ _ _ __
                                    MAG.JO GE__ _ __ __              _               NATL11.EOFSUIT_ _ _ _ .              C   u or ACTION._ _ _ _ _ __
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                    Case 1:21-cv-02664-SCJ-CMS Document 1 Filed 07/01/21 Page 76 of 76
                           Case 1:20-cv-04434-TWT Document 1-2 Filed 10/30/20 Page 2 of 4

VI. NATURE OF SUIT (PLACEAN"X"INONJ:BOXONLY)
CONlllACT -     •o• MONTiiS DISCOVERY TRACK           CIVJL RIGHTS - "4" MON1HS DISCOVERY TRACK               SOCIAL SECURITY - "O" MONTHS DISCOVERY
       0150RECOVERY OF OVERPAYMENT &                          440 OTIIER CIVIL RIGlfTS                        TRACK
  '-          ENFORCEMENT OF JUDGMENT                         441 VOTING                                               861 H1A (139511)
       0 152 RECOVERY OF DEFAULTED STIJDENT                   442 EMPLOYMENT
                                                                                            'I                         162 BLACK LUNG (923)
                                                              443 HOUSING/ ACCOMMODATIONS                              863 DIWC (405(g))
       0153 =~:~~AYMENTOP                                     445 AMERICANS with DISADll.ITIES • Employma11            863 DlWW (◄ 05(g))
              VIITERAN'S BENEFITS

CONTRACT - •4• MONTIIS DISCOVERY TRACK
                                                          0
                                                              446 AMERICANS with DISADil..ITIES • Odier
                                                              448EDUCATION                                       B     864 SSID TITU! XVI
                                                                                                                       865 RSI (40S(&))

           110 INSURANCE                                                                                      FEDERAL TAX SUITS - "4" MONTHS DISCOVERY
           120MARINE                                  IMMIGRATION - "0" MON1HS DISCOVERY TRACK                TRACK
                                                                                                              -i:r 870 TAXES (U.S. Plaintiff or Dd"c,,dant)
           130 MILU!ll ACT
           140 NEGOTIABLE INSTRUMENT
           151 MEDICARE ACT
                                                          B   462 NATURALIZATION APl'LICATION
                                                              465 OTIIER IMMIGRATION ACTIONS                      0    171 IRS-THIRDPARTY26USC7609

           160 STOCKHOLDERS SUITS                     PRJSONERPETITIONS - "O" MONTHS DISCOVERY                OIBER STATI.TIBS - "4" MONTHS DISCOVERY
           190 OTIIER CONlRACT                        ffiACK                                                  TRACK

                                                                                                              8
           195 CONTRACT PRODUCT UABIUTY                                                                                 375 FALSB CLAIMS ACT
                                                      - ~ 463 HABEAS CORPUS-Alim Ddain<e
                                                          510MOTIONSTOVACATllSENTENCE                                   376 Qw Tam 31 USC 3729(a)
           196FlUNOUSE
                                                          530 HABEAS CORPUS                                             400 STATlllU!APPORTIONMENT



                                                                                                               ~
REAL PROPERTY - •4• MONTIIS DISCOVERY                     535 HABEAS CORPUS DEATH PENALTY                               430 BANKS AND BANKlNG
TRACK                                                     540 MANDAMUS & OTIIER                                         450 COMMERCBIICC RATfS/ETC.
                                                          550 avn. RIGHl'S - Filed Pru se




       ~
           210 LAND CONDEMNATION                                                                                        460 DEPORTATION
           220 FORECLOSURE                                m PRISON CONDmON(S). Filed Pro ..                             470 RACKETEER INFLUENCED AND CORRUPT
           230 RENT LEASE & EJECIMENI                   0 560 OVll. DETAINEE: CONDmONS OF                                    ORGANIZATIONS
           240 TOR.TS TO LAND                                 CONFINEMENI"                                              480 CONSUMER CREDIT
           245 TORT PRODUCT UABIUTY
           290 AlL OlHER REAL PROPERTY                PRlSONER PETITIONS - •4• MONIBS DISCOVERY
                                                      TRACK
                                                                                                                 §      490 CABLB/SATEllII1l TV
                                                                                                                        190 OTIIER STATIITORY ACTIONS

TORTS -PERSONAL INJURY - "4" MON1HS
b!scoVERY TRACK
                                                      -U 550 crvn.. RIGHTS . P~ed by Cotnsel
                                                          0 m    PRISON CONDIDON(S)-Filed by Comsel
                                                                                                                 B     891 AGIUCULTURALACTS
                                                                                                                       893 ENVIRONMENTAL MATIERS
                                                                                                                       895 FRE'DOM OF INFORMATION ACT
           310 AIRPLANE
           315 AIRPLANE PRODUCT UABllJTY              FORFEITURE/PENALTY - "4' MONTIIS DISCOVERY
                                                                                                                 B     899 ADMINISTitATIVE PROCEDl.lRES ACT /
                                                                                                                             Rl!VIEW OR.APPEAL OF AGENCY DECISION
           320 ASSAULT. LIBEL & SLANDER               TRACK                                                      0     950 CONSTTIUTIONAUIY OF STAU: STATUTES
           330 FEDERAL EMPLOYERS" LIABlUIY            ~ 625 DRUG REU.TED SEJZUR1! OF PROPERTY
           340 MARINE                                             21   use 111                                OTIIER STATI.TIBS - •g• MONIBS DISCOVERY
           345 MARINE PRODUCT UAIIIUTY                    □ 6900TIIER                                         TRACK
           350MOTOR VEHICU!                                                                                   ~ 410 ANlTlllUST
           355 MOTOR \IEHICU! PRODUCT UABIUTY         LABOR - "4" MONTilS DISCOVERY TRACK                        0     1.50 SECURITIES/ COMMODITIES /EXCHANGE
           360 OTI-IER PERSONAL INJUJtY                   0   710FAIRLADORSTANDARDSACT
           361 PERSONAL INJURY - MEDICAL                      720 LADORIMGMT. IIEU.TIONS                      OIBER STATUTES - ""O" MONTHS DISCOVERY
       0
       0
               MALPRAcnCE
           365 PERSONAL INJURY - PRODUCT LIADIUTY         §   740RAll.WAYLADOR ACT
                                                              751 FAMILYmdMEDICALLl!AVEACT
                                                                                                              TRACK
                                                                                                              -0-      896 ARBITRATION
                                                                                                                           (Coofinn I Vaca1e I Order I ~ )

       0
           367 PERSONAL INJURY · Hl!ALTHCARF/
                PHARMACEUTICAL PRODUCT LIADIUTY
           368 ASBl!SI'OS PERSONAL INJUR.Y PRODUCT
                                                          B   790 Oll!ERLABOR LmGATION
                                                              791 EMPL lllIT. INC. SECURIIY ACT

                UABIUTY                               PROPERTY RIGHTS- "4" MONlHS DISCOVERY

TORTS -PERSONAL PROPERTY- "4" MONTIIS
                                                      TRACK
                                                      ~ 820 COPYRIGHIS
                                                                                                              * PLEASE NOTE DISCOVERY
DISCOVERY TRACK                                           0   840 TlW)EMAIU(                                    TRACK FOR EACH CASE TYPE.
       B3700111ERFRAUD                                                                                          SEE LOCAL RULE 26.3
           371 TRUTH IN LENDING                       PROPERTY RJGlITS - "8" MONTIIS DISCOVERY
           380 OTHER PERSONAL PROPERTY DAMAGE         TRACK
       B   385 PROPERTY DAMAGE PRODUCT UABIUTY        ~ 830PATENI"
                                                          0   835 PATENI"-ABBIU!VIATED NEW DRUG
                  •o• MONIBS DISCOVERY TRACK
       B
BANKRUPTCY -
           422 APl'EAL 28 USC 158
           423 WIIHDRAWAL28 USC 157
                                                                   APPUCATIONS (ANDA) - a/k/a
                                                                   H,tch-Wumu eases




VIL REQUESTED IN COMPLAINT:
  0        CHECK IF CLASS ACTION UNDER F.RCiv.P. 23              DEMANDS
JURY DEMAND          O YES        □   NO (CHECK YES ONLY IF DEMANDED IN COMPLAINn
                                                                                 ------------
VIII. RELATED/REFILED CASE(S) IF ANY
           JUDGE_ _ __ _ _ _ _ _ _ _ __                                          DOCKET NO._ __ _ _ _ __

CIVIL CASES ARE DEEMED RELATED IF THE PENDING CASE INVOLVES: (CHECK APPROPRIATE BOX)
   0       I . PROPERTY INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
   □ 2. SAME ISSUE OF FACT OR ARISES OUT OF THE SAME EVENT OR TRANSACTION INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
   □ 3. VALIDITY OR INFRINGEMENT OF 11fE SAME PATENT, COPYRIGHT OR TRADEMARK INCLUDED IN AN EARLIER NUMBERED PENDING SUIT.
   0 4. APPEALS ARISING OUT OF THE SAME BANKRUPTCY CASE AND ANY CASE RELATED THERETO WIDCH HAVE BEEN DECIDED BY THE SAME
        BANKRUPTCY JUDGE.
   0 S. REPETITIVE CASES FILED BY PRO SE LITIGANTS.
   □ 6. COMPAN10N OR RELATED CASE TO CASE(S) BEING SIMULTANEOUSLY FlLED (INCLUDE ABBREVIATED STYLE OF OTifER CASE(S)):




   0       7. EITHER SAME OR ALL OF mE P ARTIBS AND ISSUES IN nos CASE WERE PREVIOUSLY INVOLVED IN CASE NO.                                           ,WHICHWAS
              DISMISSED. This case □ IS □ IS NOT (check one box) SUBSTANTIALLY THE SAME CASE.




SIGN AT1JRE OF A TIORNEY OF RECORD                                                                  DATE
